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 8

 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                        OAKLAND DIVISION
12

13    THE APPLE iPOD iTUNES ANTI-TRUST               Lead Case No. C 05-00037 YGR
                 LITIGATION.
14

15    This Document Relates To:                              [CLASS ACTION]

16    ALL ACTIONS

17                                                 EXPERT REPORT OF DR. JOHN P.
                                                   J. KELLY
18

19                                                CONFIDENTIAL ATTORNEYS EYES
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 1

 2

 3    I.      Introduction
 4
      I, Dr. John P. J. Kelly, declare as follows:
 5
              1.      I have been retained by counsel for Apple Inc. (“Apple”), to provide assistance in
 6

 7    the above-captioned case. I am the principal of Kelly Computing, Inc. (d/b/a Kelly Technology

 8    Group), 830 Park Lane, Santa Barbara, CA 93108.

 9

10            A.      BACKGROUND
11
              2.      I previously submitted a declaration in this matter: Declaration of Dr. John P. J.
12
      Kelly In Support of Defendant’s Renewed Motion For Summary Judgment (hereinafter the
13
      “Kelly Declaration”). I have described my background and qualifications in the Kelly
14
      Declaration. Attached hereto as Exhibit A is a true and correct copy of my Curriculum Vitae.
15

16            3.      A listing of testimony that I have provided in the last four years and my

17    compensation is attached hereto as Exhibit B. I am being compensated for my time spent in
18    connection with this case. I have no financial interest in the outcome of this case.
19

20            B.      ASSIGNMENT
21
              4.      Counsel for Apple asked me to examine (1) the changes made to Apple’s FairPlay
22
      DRM technology introduced through iTunes 4.7, including the new embedded keybag, and
23

24    analyze (i) whether those changes made FairPlay less susceptible to attack and (ii) why they

25    blocked RealNetworks’ Harmony technology; (2) the keybag verification code and database

26    verification code; (3) the risks that third-party applications like RealPlayer with Harmony,
27
      Winamp and others created for the proper operation of the iPod and iTunes; and (4) what it would
28

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 1    entail for Apple to ensure that RealPlayer with Harmony technology would continue to work in
 2    light of the changes to FairPlay including those in iTunes 4.7. In addition, counsel for Apple
 3
      asked me to evaluate and respond to the opinions set forth the in the Declaration Of David F.
 4
      Martin In Support Of Plaintiffs’ Opposition To Apple’s Motion For Summary Judgment and
 5
      Expert Report of David M. Martin.
 6

 7            5.       I considered the following materials in preparing this declaration:

 8                 •   Source code and change logs for FairPlay included in iTunes 4.5.0, 4.6.0, 4.7.0,

 9                     4.7.1, 4.8.0, 4.9.0, 5.0.0, 5.0.1;
10
                   •   Source code for FairPlay 3_0_2 (used in iTunes 6.0.2 and 6.0.5), FairPlay 3_2-024
11
                       (used in iTunes 7.0), FairPlay 3_5-013 (used in iTunes 7.3), FairPlay-3_6-009
12
                       (used in iTunes 7.4), FairPlay 3_2-Hermes-011 (used in the firmware of iPod
13

14                     classic 5th generation), FairPlay 3_5-iPod-009 (used in firmware of the iPod nano

15                     3rd generation and iPod classic 6th generation);

16                 •   Technical descriptions of FairPlay;
17
                   •   Source code for iTunes 4.5.0, 4.6.0, 4.7.0, 4.7.1, 4.8.0, 4.9.0, 5.0.0, 5.0.1, 6.0.0,
18
                       6.0.1, 6.0.2, 6.0.3, 6.0.4, 6.0.5, 7.0.0, 7.0.1, 7.0.2, 7.1.0, 7.1.1, 7.2.0, 7.3.0, 7.3.1,
19
                       7.3.2, 7.4.0;
20

21                 •   Source code for the firmware of the iPod classic 3rd generation (Q14), iPod nano

22                     1st generation (M26), iPod nano 2nd generation (N36);

23                 •   Source code for Horus (M25) GM (firmware of the iPod classic 5th generation);
24
                   •   Source code for change CL84714 (firmware of the iPod nano 3rd generation and
25
                       iPod classic 6th generation);
26
                   •   Source code for versions 1.1.4 and 1.1.5 of the firmware for the iPod shuffle 1st
27

28                     generation (Q98), versions 1.0.1, 1.0.2, 1.0.3 and 1.0.4 of the firmware for the

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 1                    iPod shuffle 2nd generation (N98), and versions 1.0 and 1.0.1 of the firmware for
 2                    the iPod shuffle 3rd generation (D98);
 3
                  •   Declaration of Jeffrey Robbin in Support of Defendant’s Motion to Dismiss or in
 4
                      The Alternative Motion For Summary Judgment dated February 11, 2010;
 5
                  •   Declaration of Jeffrey Robbin in Support of Defendant’s Renewed Motion For
 6

 7                    Summary Judgment (“Robbin Decl.”);

 8                •   Declaration of Augustin Farrugia in Support of Defendant’s Renewed Motion For
 9                    Summary Judgment (“Farrugia Decl.”);
10
                  •   Supplemental Declaration of Augustin Farrugia dated July 2, 2013 (“Farrugia
11
                      Suppl. Decl.”);
12
                  •   Deposition Of Jeffrey L. Robbin On Behalf Of Apple, Inc., December 3, 2010
13

14                    (“Robbin Dep. Tr.”); Deposition Of David K. Heller On Behalf Of Apple, Inc.,

15                    December 15, 2010 (“Heller Dep. Tr.”); Deposition Of Augustin J. Farrugia On
16                    Behalf Of Apple, Inc., December 8, 2010 (“Farrugia Dep. Tr.”);
17
                  •   Discussion with Dave Heller on 02/17/2011;
18
                  •   Discussion with Augustin Farrugia and G.P. Fasoli on 02/17/2011;
19
                  •   Declaration Of David F. Martin In Support Of Plaintiffs’ Opposition To Apple’s
20

21                    Motion For Summary Judgment (hereinafter the “Martin Decl.”) and the materials

22                    cited therein;
23                •   Expert Report of David M. Martin Jr., Ph.D. dated April 8, 2013 (“Martin Report”)
24
                      and the materials cited therein;
25
                  •   Deposition of David Martin on March 18, 2011;
26

27                •   Deposition of David Martin on May 9, 2013;

28                •   Plaintiffs’ Memorandum In Opposition To Apple’s Motion For Summary

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 1                        Judgment and exhibits thereto;
 2                    •   Documents produced by Apple in this case;
 3
                      •   Publicly available documents; and
 4
                      •   Other documents as cited in this report and its exhibits.
 5

 6               6.       I also examined the following iPods.

 7    Model (Name, Part                                                                         Firmware            Storage
                                             Date Introduced           Serial Number
      Number; Code Name)                                                                        Version1              Size
 8    iPod with dock connector
      (iPod classic 3rd                          Sept. 2003            JQ338BA3PNU                   2.2             40 GB
 9    generation); MM9245LL;
      Q14
10    IPod photo
      (iPod classic 4th                          Oct. 2004              JQ4513JZR5R                  1.0             60 GB
11    generation); M9586LL;
      P98
12    iPod video
      (iPod classic 5th                          Oct. 2005             4J545EPQSZA                   1.0             60 GB
13    generation); MA003LL;
      M25
14    iPod classic
      (iPod classic 6th                          Sept. 2007            8N748R68YMV                1.0 PC             80 GB
15    generation); MB147LL;
      N25
16    iPod nano 2nd generation;                  Sept. 2006            SU726014V8T                  1.1.3             4 GB
      MA426LL; N36
17    iPod nano 3rd generation;                  Sept. 2007            7J748VLWY0P                1.0 PC              4 GB
      MA978LL; N46
18    iPod shuffle 1st generation;                Jan. 2005            5C505H84RSA                  1.1.5             1 GB
      ; Q98
19    iPod shuffle 2nd generation;
                                                 Sept. 2006            5M648U35VTE                  1.0.4             1 GB
      MA565LL; N98
20    iPod shuffle 2nd generation;               Sept. 2006             6V925P39437                 1.0.4             1 GB
      MB813LL; N98
21    iPod shuffle 3rd generation;              March 2009             4H945RYSA78                   1.1              2 GB
      ; D98
22

23

24

25

26

27    1
          This is the version of the firmware that was used during testing unless otherwise specified below.
28

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 1    II. Technical Overview
 2
                 A.       THE ITUNES ECOSYSTEM
 3

 4               7.       Apple’s iTunes Store (“iTS”) offers customers the ability to purchase music,

 5    videos, and other content over the Internet.2 Customers access iTS through Apple’s iTunes
 6
      Software application, a free “jukebox” application that organizes and plays digital music stored
 7
      on the local computer. Among other things, the iTunes Software allows users to import music
 8
      stored on CDs and other sources into their music collection.3 The iTunes Software organizes
 9
      music in a library on the computer’s hard drive that can be viewed and searched in multiple ways.
10

11    For example, music can be viewed by reference to various categories, such as the song or artist

12    name.4 Users can also use the iTunes Software to transfer digital music and video to iPods. The
13    iTunes Software saves the music to the iPod’s internal storage and writes a database that
14
      organizes that music.
15
                 8.       The iPod, iTunes Software (“iTunes client”) and the iTS have changed as Apple
16
      has added new features for its customers. In the following paragraphs, I list a some of the
17

18    features added from October 2004 to March 2009.

19               9.       In general, iPods have become smaller even as their storage capacity was

20    increased. In addition, several other enhancements have been added to successive generations
21    and models of iPod, including the ability to display photos, play audio books, play videos and
22
      podcasts and play games. For example:
23

24
      2
25        See, e.g., http://www.apple.com/itunes/whats-on/; http://www.apple.com/itunes/features/.
      3
          See, e.g., http://www.apple.com/itunes/what-is/player.html.
26    4
       I have used the iTunes Software to purchase content from iTS, import music from CDs, manage music, and transfer
27    music to an iPod and other Apple devices. I have used every major release of iTunes from version 1 to the current
      version.
28

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 1                 •    July 2002 – Apple introduced the second-generation iPod, which was compatible
 2                      with Microsoft Windows and quadrupled storage space to 20gb allowing a user to
 3
                        store about 4,000 songs (the original iPod contained 5gb of storage for about 1,000
 4
                        songs). The second-generation iPod replaced the first-generation’s mechanical
 5
                        scroll wheel with the industry’s first solid-state touch wheel allowing for increased
 6

 7                      precision, accuracy and durability;5

 8                 •    April 2003 – Apple introduced the third-generation iPod that was thinner and
 9                      doubled the storage capacity of the second-generation to 40gb and included Auto-
10
                        Sync, a new feature that automatically downloads an entire digital music library
11
                        into the iPod and keeps it up-to-date whenever the iPod is plugged into a Mac or
12
                        Windows PC;6
13

14                 •    January 2004 – Apple introduced the iPod mini, available in five metallic colors,

15                      which provided eight hours of battery life in Apple’s smallest form factor to date,

16                      constructed of an anodized aluminum body. The first-generation iPod mini was
17
                        the first iPod to utilize the touch sensitive Click Wheel, containing mechanical
18
                        switches beneath the wheel itself. To use any of the four included buttons, the user
19
                        physically pushes the edge of the wheel inward over one of the four labels;7
20

21                 •    July 2004 – Apple introduced the fourth-generation iPod which adopted the touch

22                      sensitive Click Wheel and improved battery life to 12 hours, adding approximately

23

24     5
         Apple Press Release, “Apple Unveils New iPods,” July 17, 2012,
       http://www.apple.com/pr/library/2002/07/17Apple-Unveils-New-iPods.html (accessed July 16, 2013).
25
       6
        Apple Press Release, “Apple Introduces New iPods,” April 28,
26     2003http://www.apple.com/pr/library/2003/04/28Apple-Introduces-New-iPods.html (accessed July 16, 2013).
       7
27       Apple Press Release, “Apple Introduces iPod Mini,” January 6, 2004
       http://www.apple.com/pr/library/2004/01/06Apple-Introduces-iPod-mini.html (accessed July 16, 2013).
28

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 1                      4 hours of play time over the previous model;8
 2                 •    October 2004 – Apple introduced the iPod photo, the first iPod to feature a color
 3
                        screen and slideshow photo viewing. Apple further increased battery life to 15
 4
                        hours. Storage space was increased to 60gb;9
 5
                   •    January 2005 – Apple introduced the iPod shuffle, Apple’s smallest music player
 6

 7                      (which was smaller and lighter than a pack of gum) and the first to feature flash-

 8                      based storage;10
 9                 •    February 2005 – Apple introduced the second-generation iPod mini, offering a
10
                        richer color palette and featuring an 18-hour battery (making it the longest lasting
11
                        iPod at the time);11
12
                   •    June 2005 – Apple introduced the iPod color, doing away with the black and white
13

14                      screen available on non-photo models and upgrading all iPods to a full color

15                      display;12
16                 •    September 2005 – Apple introduced the iPod nano, the slimmest, full-featured
17
                        iPod Apple had created to date – thinner than a standard #2 pencil. The iPod nano
18
                        replaced the iPod mini and featured flash-based storage instead of the iPod mini’s
19

20

21     8
         Apple Press Release, “Apple Introduces the New iPod,” July 19, 2004
       http://www.apple.com/pr/library/2004/07/19Apple-Introduces-the-New-iPod.html (accessed July 16, 2013).
22     9
         Apple Press Release, “Apple Introduces the iPod Photo,” October 26, 2004,
23     http://www.apple.com/pr/library/2004/10/26Apple-Introduces-iPod-Photo.html (accessed July 16, 2013).
       10
          Apple Press Release, “Apple Introduces iPod Shuffle,” January 11, 2005
24
       http://www.apple.com/pr/library/2005/01/11Apple-Introduces-iPod-shuffle.html (accessed July 16, 2013).
25     11
          Apple Press Release, “Apple Unveils New iPod Mini,” February 23, 2005
       http://www.apple.com/pr/library/2005/02/23Apple-Unveils-New-iPod-mini-Starting-at-Just-199.html (accessed July
26     16, 2013).
       12
27        Apple Press Release, “Apple Merges iPod-iPod Photo Lines,” June 28, 2005
       http://www.apple.com/pr/library/2005/06/28Apple-Merges-iPod-iPod-photo-Lines.html (accessed July 16, 2013).
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 1                      microdrive;13
 2                 •    October 2005 – Apple introduced the fifth-generation iPod, further reducing the
 3
                        size and weight of the unit and introducing video support. With the fifth-
 4
                        generation, users could play music, listen to audio books, view photos and watch
 5
                        videos from a single portable device with up to 20 hours of battery life;14
 6

 7                 •    May 2006 – Apple teamed with Nike to introduce Nike+iPod, utilizing an in-shoe

 8                      sensor to help track a user’s workout regime and progress on the iPod;15
 9                 •    September 2006 – Apple introduced aluminum bodies for the iPod nano, further
10
                        reducing the size of its slimmest full-featured music player while increasing
11
                        battery life to 24 hours.16 Apple also redesigned the iPod shuffle to feature an
12
                        aluminum body, built-in clip, and double the storage capacity of the previous
13

14                      model. The new shuffle measured just half a cubic inch in volume and weighed

15                      half an ounce.17 The fifth-generation iPod also received an increase in storage

16                      capability to 80gb, allowing the user to store up to 20,000 songs and an upgraded
17
                        2.5 inch display that was 60% brighter and designed to display TV shows and
18

19

20

21     13
          Apple Press Release, “Apple Introduces iPod Nano,” September 7, 2005
       http://www.apple.com/pr/library/2005/09/07Apple-Introduces-iPod-nano.html (accessed July 16, 2013).
22     14
          Apple Press Release, “Apple Unveils the New iPod,” October 12, 2005
23     http://www.apple.com/pr/library/2005/10/12Apple-Unveils-the-New-iPod.html (accessed July 16, 2013).
       15
          Apple Press Release, “Nike and Apple Team Up to Launch Nike+iPod,” May 23, 2006
24
       http://www.apple.com/pr/library/2006/05/23Nike-and-Apple-Team-Up-to-Launch-Nike-iPod.html (accessed July 16,
       2013).
25
       16
          Apple Press Release, “Apple Introduces the New iPod Nano,” September 12, 2006
26     http://www.apple.com/pr/library/2006/09/12Apple-Introduces-the-New-iPod-nano.html (accessed July 16, 2013).
       17
27        Apple Press Release, “Apple Unveils the New iPod Shuffle,” September 12, 2006
       http://www.apple.com/pr/library/2006/09/12Apple-Unveils-the-New-iPod-shuffle.html (accessed July 16, 2013).
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 1                      Hollywood movies from the palm of a user’s hand;18
 2                 •    September 2007 – Apple introduced the iPod touch, featuring a Multi-Touch
 3
                        interface and Internet access via built-in Wi-Fi wireless networking.19 Apple also
 4
                        introduced the sixth-generation iPod, dubbing it the iPod classic. The classic also
 5
                        featured the all aluminum construction of the shuffle and nano and featured 40
 6

 7                      hours of battery life with 160gb of storage capacity, equivalent to 40,000 songs.20

 8                      The iPod nano was redesigned to feature a larger display and support video

 9                      playback for the first time;21
10
                   •    September 2008 – Apple introduced the fourth-generation iPod nano, with an even
11
                        larger screen to accommodate playback of widescreen videos. Apple also included
12
                        a built-in accelerometer, allowing users to shake the Nano to shuffle songs on the
13

14                      fly. The storage capacity of the nano was increased to 16gb.22 Apple also

15                      refreshed its iPod touch to feature chrome construction, widescreen glass display,

16                      802.11 b/g Wi-Fi wireless networking, integrated volume control buttons, a built-
17                      in speaker, a built-in accelerometer and other advanced sensors;23
18
                   •    September 2009 – Apple updated the iPod classic, reducing its size while adding
19

20     18
          Apple Press Release, “Apple Introduces the New iPod,” September 12, 2006
21     http://www.apple.com/pr/library/2006/09/12Apple-Introduces-the-New-iPod.html (accessed July 16, 2013).
       19
          Apple Press Release, “Apple Unveils iPod Touch,” September 5, 2007
22     http://www.apple.com/pr/library/2007/09/05Apple-Unveils-iPod-touch.html (accessed July 16, 2013).
       20
23        Apple Press Release, “Apple Introduces New iPod Cassic,” September 5, 2007
       http://www.apple.com/pr/library/2007/09/05Apple-Introduces-New-iPod-classic.html (accessed July 16, 2013).
24     21
          Apple Press Release, “Apple Introduces All New iPod Nano,” September 9, 2007
       http://www.apple.com/pr/library/2007/09/05Apple-Introduces-All-New-iPod-nano.html (accessed July 16, 2013).
25
       22
          Apple Press Release, “Apple Introduces New iPod Nano,” September 9, 2008
26     http://www.apple.com/pr/library/2008/09/09Apple-Introduces-New-iPod-nano.html (accessed July 16, 2013).
       23
27        Apple Press Release, “Apple Introduces New iPod Touch,” September 9, 2008
       http://www.apple.com/pr/library/2008/09/09Apple-Introduces-New-iPod-touch.html (accessed July 16, 2013).
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 1                          40gb of storage capacity.24 The iPod nano also received a major update, receiving
 2                          an even larger screen, the addition of an FM radio, pedometer and built-in camera
 3
                            and microphone;25
 4
                        •   September 2010 – Apple introduced its most advanced iPod touch to date,
 5
                            featuring a Retina Display, FaceTime video calling, HD video recording and a
 6

 7                          game center.26 Apple also introduced a redesigned iPod nano featuring a Multi-

 8                          Touch interface, built-in FM radio with live pause and a built-in clip for instant

 9                          wearability.27
10
                  10.       New releases of the iTunes Software added support for new iPod models and also
11
       included new features such as:
12
                        •   iTunes 2.0 (Oct. 2001) included support for MP3 CD burning, enabled a 10-band
13

14                          equalizer to bring robust, receiver-style audio customization to the desktop and

15                          added a cross fading function that allowed for gapless playback of tracks; 28

16                      •   iTunes 3.0 (July 2002) included support for audio books;29
17
                        •   iTunes 4.0 (April 2003) included support for sharing music between iTunes
18

19
       24
20          http://www.ign.com/articles/2010/09/03/igns-history-of-the-ipod?page=6 (accessed July 16, 2013).
       25
          Apple Press Release, “Apple Introduces New iPod Nano with Built-in Video Camera,” September 9, 2009
21     http://www.apple.com/pr/library/2009/09/09Apple-Introduces-New-iPod-nano-With-Built-in-Video-Camera.html
       (accessed July 16, 2013).
22     26
          Apple Press Release, “Apple Introduces New iPod Touch,” September 1, 2010
23     http://www.apple.com/pr/library/2010/09/01Apple-Introduces-New-iPod-touch.html (accessed July 16, 2013).
       27
          Apple Press Release, “Apple Reinvents iPod Nano with Multi-Touch Interface,” September 1, 2010
24
       http://www.apple.com/pr/library/2010/09/01Apple-Reinvents-iPod-nano-With-Multi-Touch-Interface.html (accessed
       July 16, 2013).
25
       28
          Apple Press Release, “Apple Announces iTunes 2,” October 23, 2001
26     http://www.apple.com/pr/library/2001/10/23Apple-Announces-iTunes-2.html (accessed July 18, 2013).
       29
27        Apple Press Release, “Apple Announces iTunes 3,” July 17, 2002
       http://www.apple.com/pr/library/2002/07/17Apple-Announces-iTunes-3.html (accessed July 18, 2013).
28

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 1                      users;30
 2                  •   iTunes 4.1 (Oct. 2003) included support for On-The-Go playlists, which allows
 3
                        users to create playlists directly from their iPod, rather than logging into iTunes
 4
                        from their computer;31
 5
                    •   iTunes 4.7 (Oct. 2004) included support for copying photos to an iPod photo and
 6

 7                      showing duplicate songs in the iTunes library;32

 8                  •   iTunes 4.8 (May 2005) included support for playing QuickTime movies,
 9                      synchronizing contacts and calendar appointments with the iPod, and several new
10
                        worldwide music stores;33
11
                    •   iTunes 4.9 (June 2005) included support for browsing and subscribing to podcasts
12
                        (multimedia content created exclusively for playback on iPod) from within the
13

14                      iTunes Music Store, and transferring podcasts to the iPod;34

15                  •   iTunes 5.0 (Sept. 2005) included a new more powerful instant search including the
16                      new Search Bar, the “smart shuffle” feature (which limited the repetition of the
17
                        same tracks when shuffling through music), folders for organizing playlists, new
18

19

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21     30
          Apple Press Release, “Apple Launches the iTunes Music Store,”
       http://www.apple.com/pr/library/2003/04/28Apple-Launches-the-iTunes-Music-Store.html (accessed July 18, 2013).
22     31
         Apple Press Release, “Apple Updates iPod,” October 16, 2003 http://www.apple.com/pr/library/2003/10/16Apple-
23     Updates-iPod.html (accessed July 18, 2013).
       32
          See iTunes 4.7 help files. See also Apple Press Release, “Apple Introduces iPod Photo,” October 26, 2004
24
       http://www.apple.com/pr/library/2004/10/26Apple-Introduces-iPod-Photo.html;
       http://www.oldapps.com/itunes.php?old_itunes=4#changelog (both accessed July 18, 2013).
25
       33
          See iTunes 4.8 help files. See also GigaOM “iTunes 4.8 Released,” May 9, 2005
26     http://gigaom.com/2005/05/09/itunes-48-released/ (accessed July 18, 2013).
       34
27        Apple Press Release, “Apple Takes Podcasting Mainstream,” June 28, 2005
       http://www.apple.com/pr/library/2005/06/28Apple-Takes-Podcasting-Mainstream.html (accessed July 18, 2013).
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 1                        Parental Controls, and allowing users the ability to enter and view song lyrics;35
 2                    •   iTunes 6.0 (Oct. 2005) included support for previewing, buying, and downloading
 3
                          videos from the iTunes Music Store, synchronizing videos with the iPod video,
 4
                          and giving songs or other multimedia items as gifts;36
 5
                      •   iTunes 7.0 (Sept. 2006) included support for buying and downloading iPod games
 6

 7                        from the iTunes Store (allowing users to use the iPod as a mobile gaming

 8                        platform), near-DVD quality video playback, gapless playback of albums, copying
 9                        purchased content from the iPod to the computer, and a complete redesign of the
10
                          iTunes graphical user interface, including the introduction of Cover Flow (an
11
                          animated three dimensional graphical user interface integrated within iTunes to
12
                          visually flip through albums, album artwork and other multimedia);37
13

14                    •   iTunes 7.1 (March 2007) included support for playing content from the iTunes

15                        library on a television using AppleTV, improved sorting and full-screen Cover

16                        Flow;38
17
                      •   iTunes 7.2 (May 2007) included support for previewing and buying iTunes Plus
18
                          (256 kbps DRM-free music), iTunes U (providing educational content from
19

20

21

22     35
            Apple Press Release, “Apple Introduces iTunes 5,” September 7, 2005 (accessed July 18, 2013).
23     36
         Apple Press Release, “Apple Announces iTunes 6 with 2,000 Music Videos, Pizar Short Films & Hit TV Shows,”
       October 12, 2005 http://www.apple.com/pr/library/2005/10/12Apple-Announces-iTunes-6-With-2-000-Music-
24
       Videos-Pixar-Short-Films-Hit-TV-Shows.html (accessed July 18, 2013).
25     37
          Apple Press Release, “Apple Announces iTunes 7 with Amazing New Features,” September 12, 2006
       http://www.apple.com/pr/library/2006/09/12Apple-Announces-iTunes-7-with-Amazing-New-Features.html
26     (accessed July 18, 2013).
       38
27        See iTunes 7.1 help files. See also Apple Insider, “Apple Releases iTunes 7.1, QuickTime 7.1.5,” March 5, 2007
       http://appleinsider.com/articles/07/03/05/apple_releases_itunes_71_quicktime_715_more (accessed July 18, 2013).
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 1                      leading universities, including Stanford, Yale, UC Berkeley, MIT and Oxford);39
 2                 •    iTunes 7.3 (June 2007) included support for wirelessly streaming photos to an
 3
                        Apple TV;40
 4
                   •    iTunes 7.4 (September 2007) included support for iPod Touch, the sixth-
 5
                        generation iPod Classic and the third-generation iPod Nano. The update also
 6

 7                      provided support for watching videos at a larger size inside the iTunes window,

 8                      watching video with closed captioning and rating albums;41
 9                 •    iTunes 7.6 (Jan. 2008) included support for renting movies and copying purchased
10
                        content from Apple TV to the computer;42
11
                   •    iTunes 7.7 (July 2008) included support for the App Store;43
12
                   •    iTunes 8.0 (Sept. 2008) included support for Genius playlists and the Genius
13

14                      sidebar (which automatically create playlists from a user’s content and

15                      automatically recommend music based on user’s preferences, respectively), and
16

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       39
          Apple Press Release, “Apple Announces iTunes U on the iTunes Store,” May 30, 2007
19
       http://www.apple.com/pr/library/2007/05/30Apple-Announces-iTunes-U-on-the-iTunes-Store.html; Apple Press
       Release, “Apple Launches iTunes Plus,” May 30, 2007 http://www.apple.com/pr/library/2007/05/30Apple-Launches-
20     iTunes-Plus.html (both accessed July 18, 2013).
       40
21        See iTunes 7.3 help files. See also Apple Insider, “iTunes 7.3 Supports iPhone, Adds AppleTV Photo Streaming,”
       June 29, 2007
22     http://appleinsider.com/articles/07/06/29/itunes_7_3_supports_iphone_adds_apple_tv_photo_streaming (accessed
       July 18, 2013).
23     41
          Apple Press Release, “Apple Unveils the iTunes Wi-Fi Music Store,” September 5, 2007
       http://www.apple.com/pr/library/2007/09/05Apple-Unveils-the-iTunes-Wi-Fi-Music-Store.html (accessed July 18,
24
       2013).
25     42
          Apple Press Release, “Apple Premieres iTunes Movie Rentals with All Major Film Studios,” January 15, 2008
       http://www.apple.com/pr/library/2008/01/15Apple-Premieres-iTunes-Movie-Rentals-With-All-Major-Film-
26     Studios.html (accessed July 18, 2013).
       43
27        Apple Press Release, “iPhone 3G on Sale Tomorrow,” July 10, 2008
       http://www.apple.com/pr/library/2008/07/10iPhone-3G-on-Sale-Tomorrow.html (accessed July 18, 2013).
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 1                       HD-quality TV shows;44
 2                   •   iTunes 8.1 (March 2009) included support for allowing friends to request songs for
 3
                         iTunes DJ, Genius sidebar for movies and TV shows and importing CDs at the
 4
                         same sound quality as iTunes Plus;45
 5
               11.       Apple also added new features and content to the iTS, including among others:
 6

 7                   •   iTunes Plus music (music at higher fidelity);

 8                   •   Music videos;
 9
                     •   TV shows;
10
                     •   Movies;
11
                     •   Movie rentals;
12

13                   •   iPod games;

14                   •   iTunes U (which offers free content from some of the top universities around the

15                       United States);
16
                     •   Pod casts;
17
                     •   iOS apps;
18
                     •   iMix playlists.
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       44
          Apple Press Release, “Apple Announces iTunes 8,” September 9, 2008
26     http://www.apple.com/pr/library/2008/09/09Apple-Announces-iTunes-8.html (accessed July 18, 2013).
       45
27        MacWorld “Apple Releases iTunes 8.1 Update,” March 11, 2009
       http://www.macworld.com/article/1139330/itunes.html (accessed July 18, 2013).
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 1                B.       FAIRPLAY
 2
                  12.      Apple protected the music offered on iTS with its proprietary digital rights
 3
       management (DRM) technology called FairPlay.46 FairPlay used encryption and other tools to
 4

 5     enforce certain usage rules, including restricting access to the keys necessary to play music

 6     purchased from iTS on a customer’s computer. Encryption refers to the process of altering the

 7     song so that only someone with the right “key” can decrypt the song and thus convert it to its
 8     original, unencrypted form for playback.47
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22     46
            In 2007, EMI permitted Apple to distribute its music without DRM. See, e.g., Robbin Decl. at footnote 2.
       47
         Specifically, encryption uses a mathematical process (called a cipher) to scramble the information that is to be
23     protected (called the “plaintext”). Once the data has been encrypted, it is unintelligible except to the person (or
       computer) who also has access to a special piece of information (called the “key”). The key is necessary to
24     unscramble the encrypted data and recover the plaintext. Encryption can be used to scramble actual text (such as a
       secret military communication), digital music files or any other kind of data. The process of unscrambling encrypted
25     data (text or other data) is called decryption
       48
26          See, e.g., Apple_AIIA_B_000096.
       49
            See, e.g., Apple_AIIA_B_000096.
27     50
            See, e.g., Apple_AIIA_B_015553.
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       51
            See, e.g., Apple_AIIA_B_000096; see also Robbin Decl. ¶¶ 17 and Exhs. 4 and 5 thereto.
25     52
         See, e.g., Source Code, Image File AdditionalCode_20101220.dmg,
       iTunes/4.7.0/MPEG/Sources/iPod/MusicStore.cp; see also Robbin Decl. at ¶¶ 10-16 and Exhibits thereto; Exhibit 29
26     to Deposition of David Heller.
       53
27       See, e.g., Dep. Tr. of David Heller on December 15, 2010 at 36:23-38:2, 77:16-79:1, 80:18-81:1; Robbin Decl. at
       ¶¶ 10-16 and Exhibits thereto.
28

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 1                       1.       FairPlay in iTunes 4.5.0 and 4.6.0
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                18.      I examined the source code and other technical descriptions of FairPlay included
 3
       in iTunes 4.5.0 and 4.6.0.
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                19.
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27        As I have used the term here, a transformation is sequence of mathematical operations performed on data. The
       transformation is reversible if the original data can be recovered using a second transformation which is the inverse
28                                                                                                               (continued)

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 1                21.
 2                                                                        If a hacker were able to crack the
 3
       keybag, he would get access to all of the account keys and could then use those keys to strip
 4
       FairPlay from all of the customer’s iTS music.
 5
                  22.      I understand that several hacks, including DeDRMS, PlayFair and Hymn,
 6

 7     exploited these vulnerabilities. Each evidently broke the encryption on the keybag and retrieved

 8     the account keys to strip the content protection.55 According to Hymn’s authors, they had cracked

 9     both the local and iPod keybags.56
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26     of the first transformation.
       55
            See, e.g., Robbin Decl. at ¶¶ 24-25, 30-33 and exhibits.
27     56
            See, e.g., Apple_AIIA00113141-51; Robbin Decl ¶ 31 and exhibits.
28

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          Figure 1. Overview of the structure of the 4.5.0/4.6.0 local keybag. There is one User
17       Account Record per iTunes user account. There may be multiple account keys per user
        account. [See, e.g., source code computer, image file AdditionalCode_20101220.dmg, files
18           “iTunes FairPlay/iTunes FP 4.5.0/Keybag.c” and “iTunes FairPlay/iTunes FP
                                            4.5.0/Keybag.h.”]
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14      Figure 2. Overview of the sequence of steps used to encrypt (above dashed line from left to
            right) or decrypt (below dashed line from right to left) the 4.5.0/4.6.0 keybag. The
15         unadorned boxes represent data. The boxes with vertical bars on left and right sides
               represent a data processing step. [See, e.g., source code computer, image file
16        AdditionalCode_20101220.dmg, files “iTunes FairPlay/iTunes FP 4.5.0/Keybag.c” and
                               “iTunes FairPlay/iTunes FP 4.5.0/Keybag.h.”]
17

18                     2.       FairPlay in iTunes 4.7.0

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20             23.     The iTunes 4.7.0 Software included a number of significant changes that improved

21     FairPlay, making it more difficult for hacks like Hymn to crack the local and iPod keybags.

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        Figure 3. Overview of the sequence of steps used to encrypt (above dashed line from left to
15          right) or decrypt (below dashed line from right to left) the 4.7.0 local keybag. The
           unadorned boxes represent data. The boxes with vertical bars on left and right sides
16                  represent a data processing step. [See, e.g., Apple_AIIA_B_000022;
                        Apple_AIIA_B_015564-597; Apple_AIIA_B_015626-632.]
17

18             25.     This change to the local keybag was an improvement to FairPlay because it
19     stopped the then current hacks that relied on knowledge of the local keybag encryption. In
20
       addition, it made the local keybag (and the account keys within) less susceptible to attacks by
21
       adding complexity that would make it harder to reverse engineer. Comparing Figure 3 to Figure
22
       2 shows the number of additional steps a hacker would have had to reverse engineer to obtain the
23

24     account keys.

25             26.     Apple also adopted a new format and encryption scheme for the iPod keybag,

26     which was referred to as the “embedded keybag.”
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 1             27.     The following is a description of the new embedded keybag.
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        Figure 4. Overview of the structure of the 4.7.0 embedded keybag. There will be one User
21       Account Record for each iTunes user account. There may be multiple account keys per
                         user account. [See, e.g., Apple_AIIA_B_015707-709.]
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 6     Figure 5. Overview of the decryption of a FairPlay protected song for playback on an iPod.
        The unadorned boxes represent data. The boxes with vertical bars on left and right sides
 7               represent a data processing step. [See, e.g., Apple_AIIA_B_000029-30;
                                        Apple_AIIA_B_000096.]
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 9             31.

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               32.     Based on my review of the source code for FairPlay, work on the changes to the
21
       source code itself for the embedded keybag began at least as early as June 17, 2004. Many of the
22
       source code files contain comments at the beginning of the file that describe changes to that file
23

24     (the “change log”). Each entry in this change log contains a revision number, the date that the

25     change was entered into the log, the person who entered the change, and a comment describing
26     the change. As noted, the change log reflected when the change to the source code was entered,
27

28

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 1     not when the work was actually started. The following figures show some change log entries that
 2     mention work on the embedded keybag included in iTunes 4.7.
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15                     3.       FairPlay Introduced With iTunes 7.0

16             33.     For iTunes 7.0, Apple further redesigned the keybag to eliminate vulnerabilities in
17
       FairPlay. [See, e.g., Farrugia Decl. at ¶ 32.] As I will discuss below, the improvements to
18
       FairPlay added more layers of protection for the account keys, added diversity (to make each
19
       instance of FairPlay independent of others) and increased the flexibility of the keybag format.
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26       See, e.g., in Additional_AIIA_20110131/FairPlay-3_2-024, files DulcimerHandler.c at lines 3896-4096
       (SaveAppleUserIDListToUniversalKeybag()); FairPlayPublic.c at lines 710-718 (FairPlayDeviceSyncSet());
27     DeviceSync.c at lines 604-704 (KBDeviceSyncSet()); KeybagAccounts.c at lines 2817-2856 (KBMergeKeybags());
       BagUtilities.c at lines 569-800 (CheckContainerIntegrity()) and lines 463-512 (VerifyGroupIntegrity()).
28

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19     For example, the “chosen-ciphertext attack” where “the cryptanalyst can choose different cipher-

20     texts to be decrypted and has access to the decrypted plaintext” exploits the attacker’s ability to

21     present arbitrary cipertext to the decryption engine. [Applied Cryptography, Bruce Schneier,
22
       1996 at pp. 5, 471-472; see also Handbook of Applied Cryptography, Menezes et al., 1997 at pp.
23

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 1     41, 226, 285.] The goal of the chosen-ciphertext attack is to use the cipher-text/plain-text pairs to
 2     deduce the encryption key.
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               41.
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25     Figure 10. Overview of the structure of the iTunes 7.0 desktop keybag. Each key may have
                  an associated Signature Atom. There is no Session Atom. [See, e.g.,
26     APPLE_AIIA_B_000084; files in directory Additional_AIIA_20110131/FairPlay-3_2-024/:
        Embedded/Sources/FPAtomContainerUtilies.c at lines 95-109; KeybagAccounts.c at lines
27       894-985 (KBNewKeybag()), lines 1864-1929 (KBGetAccountVersion()), lines 2375-2652
                            (KBSetKeyInfo()); BagUtilities.h at lines 24-65.]
28

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            Figure 11. Overview of the structure of the iTunes 7.0 diversity bag. [See, e.g.,
26      APPLE_AIIA_B_000085-87; Additional_AIIA_20110131/FairPlay-3_2-024/BagUtilities.h,
                                             lines 67-97.]
27

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          Figure 12. Overview of the structure of the iTunes 7.0 iPod keybag. There will be one
23     Account Atom for each iTunes user account. There may be multiple account keys per user
           account. [See, e.g., files in directory Additional_AIIA_20110131/FairPlay-3_2-024/:
24     Embedded/Sources/FPAtomContainerUtilies.c at lines 95-109; Diversity.c at lines 1713-1809
        (DBUnflattenDiversityBag()); KeybagAccounts.c at lines 894-985 (KBNewKeybag()), lines
25      1864-1929 (KBGetAccountVersion()), lines 2375-2652 (KBSetKeyInfo()); BagUtilities.h at
                    lines 24-65; DeviceSync.c at lines 709-1076 (KBDeviceSyncGet()).]
26

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               43.     I understand that Apple only included support for the universal keybag (including
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16     keybag verification) in the firmware of certain iPod models:

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                       “The new keybag architecture for the iPod … was first shipped and
18
                       enabled in the iPod nano 2nd generation introduced on September
19
                       12, 2006. The new keybag architecture was later shipped and
20
                       enabled in the iPod nano 3rd generation, iPod classic 6th
21
                       generation, and iPod touch 1st generation introduced on September
22
                       5, 2007, and on later generations of iPod nano, iPod classic, and
23
                       iPod touch. The new keybag architecture was not enabled and thus
24
                       had no effect on any other iPods, including iPod shuffles, iPod nano
25
                       1st generation or iPod classic 1st through 5th generations.” [Farrugia
26
                       Suppl. Decl. at ¶ 2]
27

28     I have confirmed that the iPod nano 2nd generation, iPod nano 3rd generation and iPod classic 6th

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 1     generation utilize the universal keybag. I have also confirmed that these iPods utilize keybag
 2     verification by transposing two bytes of the integrity value of the universal keybag.60 Before
 3
       modifying the integrity value, the FairPlay-protected songs on the iPods play. After modifying
 4
       the integrity value, the FairPlay-protected songs on the iPods do not play.61 DRM-free songs on
 5
       the iPod play both before and after modifying the integrity value. In addition, as discussed in
 6

 7     more detail in § II.D.1 below, I have also confirmed that the keybag verification code was not

 8     present in the iPod classic 4th generation, iPod classic 5th generation, iPod shuffle 1st generation,

 9     iPod shuffle 2nd generation or iPod shuffle 3rd generation by examining the source code and
10
       performing the same tests outlined above.
11

12

13
                  C.       ITUNES DATABASE

14                44.      Information about the media (music, videos, etc.) on the iPod is stored in a
15     database in the file iPod_Control/iTunes/iTunesDB in the iPod’s internal storage, which I will
16
       call the iTunes database.62 (The file iTunesDB was also called the Dulcimer database,
17
       abbreviated in the source code as DDB.) The format of the iTunes database changed over time as
18
       Apple released new versions of iTunes, and each updated revision of the iTunes database was
19

20     identified by a version number. For example, the iTunes 4.7.0 version of the iTunes database is

21

22

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       60
          This is the same method used by Dr. Martin to produce a keybag that does not verify. [See, e.g., Martin Report at
25     fn. 84.]
       61
26          The iPod deletes the keybag because any subsequent check of the keybag verification code would also fail.
       62
27       The iTunes Software also maintained a media database on the user’s personal computer, but I will not discuss that
       database in this report.
28

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 1     1.11 and the iTunes 7.0.0 version of the iTunes database is 1.19. [See, e.g., the file
 2     DulcimerDBFileFormat.h.63]
 3

 4                      1.       Overview of the iTunes Database
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               45.
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17                                  Figure 14 is an overview of the structure of Dulcimer database version

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19     63
          In the iTunes 4.6 source code production:
       /Volumes/Source/AdditionalCode_20101220/iTunes/4.6.0/MPEG/Sources/MPEGDecoder/DulcimerDBFileFormat.h
20
       , Apple_AIIA_B_016507-Apple_AIIA_B_016519
21     In the iTunes 4.7 source code production:
       /Volumes/Source/AdditionalCode_20101220/iTunes/4.7.0/MPEG/Sources/MPEGDecoder/DulcimerDBFileFormat.h
22     , Apple_AIIA_B_015636-Apple_AIIA_B_015650
       In the iTunes 7.0.0 source code production:
23     /Volumes/Source/AdditionalCode_20101220/iTunes/7.0.0/MPEG/Sources/MPEGDecoder/DulcimerDBFileFormat.h
       , Apple_AIIA_B_015833-Apple_AIIA_B_015846
24     64
         In the iTunes 4.6 source code production:
25     /Volumes/Source/AdditionalCode_20101220/iTunes/4.6.0/MPEG/Sources/MPEGDecoder/DulcimerDatabase.c,
       Apple_AIIA_B_016434-Apple_AIIA_B_016506
26     In the iTunes 4.7 source code production:
       /Volumes/Source/AdditionalCode_20101220/iTunes/4.7.0/MPEG/Sources/MPEGDecoder/DulcimerDatabase.c
27
       In the iTunes 7.0.0 source code production:
28                                                                                                     (continued)

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 1     1.10 (i.e., iTunes 4.5/4.6). Each of the database elements shown in the figure contains multiple
 2     pieces of information. For example, the DDBFileHeader structure contains 8 non-reserved fields
 3
       and the DDBTrackInfo structure contains 45 non-reserved fields.
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21      Figure 14. Graphical overview of version 1.10 of the Dulcimer database written by iTunes
             4.5 and 4.6. [See, e.g., files DulcimerDBFileFormat.h (Apple_AIIA_B_016507 -
22             Apple_AIIA_B_016519) and DulcimerDatabase.c (Apple_AIIA_B_016434 -
                                           Apple_AIIA_B_016506).]
23
               46.     Apple regularly updated the iTunes database to support new features in iTunes and
24

25     the iPod. New sections were added to the database and additional fields were added to existing

26

27     /Volumes/Source/AdditionalCode_20101220/iTunes/7.0.0/MPEG/Sources/MPEGDecoder/DulcimerDatabase.c,
       Apple_AIIA_B_015733-Apple_AIIA_B_015832
28

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 1     structures in the database. Furthermore, such changes were not restricted to major releases of
 2     iTunes (i.e., when the first part of the version number changes such as from 4.0 to 5.0) or even
 3
       minor releases (i.e., when the second part of the version number changes such as from 4.7 to 4.9),
 4
       but were also made in revision releases (i.e., when the third part of the version number changes
 5
       such as from 4.7.0 to 4.7.1). I will provide a few examples here.
 6

 7                 •   In iTunes 4.5, the database version was 1.10;

 8                 •   In iTunes 4.7, the database version was changed to 1.11.
 9

10

11
                   •   In iTunes 4.7.1, the database version was changed to 1.12.
12

13

14                 •   In iTunes 4.9, the database version was changed to 1.13.

15

16

17
                   •   In iTunes 5.0, the database version was changed to 1.14.
18

19
                   •   In iTunes 6.0, the database version was changed to 1.15.
20

21

22

23                 •   In iTunes 6.0.1, the database version was changed to 1.16
24

25
                   •   In iTunes 6.0.2, the database version was changed to 1.17.
26
                   •   In iTunes 6.0.5, the database version was changed to 1.18.
27

28

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                   •   In iTunes 7.0, the database version was changed to 1.19.
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 9                 •   In iTunes 7.1, the database version was changed to 1.20.
10

11

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14

15                 •   In iTunes 7.2, the database version was changed to 1.21.

16                 •   In iTunes 7.3, the database version was changed to 1.23.
17

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23                 •   In iTunes 7.3.1, the database version was changed to 1.24.
24
                   •   In iTunes 7.3.2,
25
                   •   In iTunes 7.4, the database version was changed to 1.25.
26

27

28     Several of these changes included new files and folders on the iPod. For example, a new folder

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 1     was created for the artwork database and artwork files; new database files were added for iPod
 2     shuffles; etc.
 3

 4                      2.       Improvements to the iTunes Database Introduced With iTunes 7.4
 5
               47.      Apple modified FairPlay to include a verification feature for the iTunes database
 6
       so that the iTunes Software and the iPod could detect any changes to the iTunes database that
 7
       could corrupt the database, iTunes or the iPod. This has been referred to as database verification
 8

 9     code.

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18             If the iPod firmware did not support database verification, the database verification fields
19     were filled with zeros.
20

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23

24     65
          See, e.g., in directory Additional_AIIA_20130313/906-AIIA iTunes 20130312:
       HAVE_IPOD_DATABASE_MAC macro, WriteIPodDBToBuffer() and related functions in iTunes
25     7.4.0/iTunes/iPod/DulcimerDatabase.cpp (lines 14, 3581-3774, etc.); HAVE_KEYBAG macro in iTunes
       7.4.0/iTunes/prefixHeaders/ProductFlags.h (line 194); HAVE_SECRET_SAUCE macro in iTunes
26     7.4.0/iTunes/prefixHeaders/iTunesAppProductFlags.h (line 14).
       66
27        Checkpoint data is a plist stored on the iPod that contains information about the iPod’s capabilities. Amongst
       other information, this can include version numbers, ID numbers, supported media types, DRM requirements, music
28                                                                                                            (continued)

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 1                48.
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 8                49.     I understand that Apple only included support for and enabled database

 9     verification in the firmware of certain iPod models:
10
                          “The iPod database verification protocol … was shipped and
11
                          enabled in the iPod nano 3rd generation, iPod classic 6th
12
                          generation, and iPod touch 1st generation introduced on September
13
                          5, 2007, and later generations of iPod nano, iPod classic, and iPod
14
                          touch. The iPod database verification protocol was not enabled and
15
                          thus had no effect on any other iPods, including iPod shuffles, iPod
16
                          nano 1st generation, iPod nano 2nd generation, or iPod classic 1st
17
                          through 5th generations.” [See Farrugia Suppl. Decl. at ¶ 3.]
18

19
       database requirements, and minimum iTunes version.
       67
20        See, e.g., in directory Additional_AIIA_20130313/906-AIIA iTunes 20130312: iTunes
       7.4.0/iTunes/iPod/DulcimerHandler.cpp at lines 4805-4808; iTunes 7.4.0/iTunes/iPod/iPodDeviceInfo.cpp at line 78
21     (kDatabaseVersionKey), 1374-1377 (iPodCheckpointXMLEndElementHandler()).
       68
22          Neither iTunes 7.4 nor the iPod verifies the trackInfoMAC or trackListMAC fields.
       69
          The checksum and trackListMAC fields of the DDBFileHeader record are set to zero before calculating the
23     fileMAC and are thus not covered by the fileMAC.
       70
24        See, e.g., Farrugia Decl. at ¶ 30; Farrugia Dep. Tr. at 162:16-171:5, 182:22-183:24, 190:22-191:12;
       Apple_AIIA_A_00094564-69; Apple_AIIA_B_000049-51. For iTunes 7.4 see also
25     VERIFY_DDB_TRACK_MACS macro, ReadIPodDBFromBuffer() and related functions in
       Additional_AIIA_20130313/906-AIIA iTunes 20130312/iTunes 7.4.0/iTunes/iPod/DulcimerDatabase.cpp (lines 806,
26     6792-7110, etc.). For the iPod nano 3rd generation and iPod classic 6th generation see also ReadDulcimerDB() and
       related functions in Additional_AIIA_20130313/904-CandyActivate/CL84714/DulcimerDatabase.c;
27     HAVE_IPOD_DATABASE_MAC and CALC_TRACK_MAC macros in Additional_AIIA_20130313/904-
       CandyActivate/CL84714/iTunesToGoPrefix.h.
28

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 1
       I have confirmed that the iPod nano 3rd generation and the iPod classic 6th generation utilize the
 2

 3     database verification code by examining the source code and running tests similar to that run by

 4     Dr. Martin, including transposing two bytes of the integrity value. Before modifying the integrity

 5     value, songs on the iPods play. After modifying the integrity value, the songs on the iPods do not
 6
       play. In addition, as discussed § II.D.2 below, I confirmed that the database verification code was
 7
       not enabled in iPod classic 4th generation, iPod classic 5th generation, iPod nano 2nd generation,
 8
       iPod shuffle 1st generation, iPod shuffle 2nd generation, and iPod shuffle 3rd generation by
 9
       examining the source code and running similar tests.
10

11
               D.      PRODUCTS WITHOUT KEYBAG AND/OR DATABASE VERIFICATION
12

13             50.     For the iTunes Software to create a keybag with the keybag verification code or a
14     database with the database verification code, both the iTunes Software and the iPod firmware
15
       must support that feature. As I have discussed above, keybag verification was not supported by
16
       the iTunes Software prior to iTunes version 7.0, and database verification was not supported by
17
       the iTunes Software prior to iTunes version 7.4. In addition, I understand that keybag verification
18

19     was not included on all iPod models, and database verification was, likewise, not included on all

20     iPod models. As I discuss in the remainder of this section, I have seen no evidence to contradict

21     this information.
22

23                     1.       Keybag Verification

24
               51.     I examined the source code for the iPod shuffle 1st generation (firmware versions
25
       1.1.4 and 1.1.5). The source code contains FairPlay routines for the embedded keybag.
26

27

28                                                               which indicates that the iPod shuffle 1st

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 1     generation only supports the embedded keybag.71 I also synchronized an iPod shuffle 1st
 2     generation (firmware version 1.1.5) with iTunes 11.0.3 and transferred one DRM-free song and
 3
       two FairPlay-protected songs to the iPod. The iTunes Software created an embedded keybag and
 4
       not a universal keybag to store the account keys. The iPod shuffle played all three songs. This is
 5
       consistent with Apple’s representation that the firmware of the iPod shuffle 1st generation does
 6

 7     not include keybag verification.

 8             52.      I examined the source code for the iPod shuffle 2nd generation (firmware versions

 9     1.0.1, 1.0.2, 1.0.3 and 1.0.4). The source code contains FairPlay routines for the embedded
10
       keybag.
11
                                                                             which indicates that the iPod shuffle
12
       2nd generation only supports the embedded keybag.72 I also synchronized an iPod shuffle 2nd
13
       generation (firmware versions 1.0.1 and 1.0.4) with iTunes 11.0.3 and transferred one DRM-free
14

15     song and two FairPlay-protected songs to the iPod. The iTunes Software created an embedded

16     keybag and not a universal keybag to store the account keys. The iPod shuffle played all three
17     songs. This is consistent with Apple’s representation that the firmware of the iPod shuffle 2nd
18
       generation does not include keybag verification.
19
               53.      I examined the source code for the iPod shuffle 3rd generation (firmware versions
20
       1.0 and 1.0.1). The source code contains FairPlay routines for the embedded keybag.
21

22

23                                                                       which indicates that the iPod shuffle 3rd

24

25     71
         See, e.g., in Additional_AIIA_20130530/q98sw-1.1.4, the files
       main/DiskMode/devicedriver/media/scsi/q98checkpoint.txt and
26     main/Player/projects/apple/q98ledexample/player/inc/ams.h.
       72
27       See, e.g., in Additional_AIIA_20130530/N98-1.0.1, the file
       Source/Devices/USB/USB20_FUNC/LLD/n98checkpoint.txt.
28

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 1     generation only supports the embedded keybag.73 I also synchronized an iPod shuffle 3rd
 2     generation (firmware version 1.1) with iTunes 11.0.3 and transferred one DRM-free song and two
 3
       FairPlay-protected songs to the iPod. The iTunes Software created an embedded keybag and not
 4
       a universal keybag to store the account keys. The iPod shuffle played all three songs. This is
 5
       consistent with Apple’s representation that the firmware of the iPod shuffle 3rd generation does
 6

 7     not include keybag verification.

 8             54.     I synchronized an iPod classic 3rd generation (firmware version 2.3) with iTunes

 9     11.0.4 and transferred one DRM-free song and two FairPlay-protected songs to the iPod. The
10
       iTunes Software created an embedded keybag and not a universal keybag to store the account
11
       keys. The iPod classic 3rd generation played all three songs. This is consistent with Apple’s
12
       representation that the firmware of the iPod classic 3rd generation does not include keybag
13
       verification.
14

15             55.     I synchronized an iPod photo (iPod classic 4th generation) (firmware version 1.2.1)

16     with iTunes 11.0.3 and transferred one DRM-free song and two FairPlay-protected songs to the
17     iPod. The iTunes Software created an embedded keybag and not a universal keybag to store the
18
       account keys. The iPod photo played all three songs. This is consistent with Apple’s
19
       representation that the firmware of the iPod classic 4th generation does not include keybag
20
       verification.
21

22             56.     I synchronized an iPod video (iPod classic 5th generation) (firmware version 1.3)

23     with iTunes 11.0.3 and transferred one DRM-free song and two FairPlay-protected songs to the

24     iPod. The iTunes Software created an embedded keybag and not a universal keybag to store the
25

26
       73
27        See, e.g., in Additional_AIIA_20130530/D98-1.0, the file Firmware/Lib/RBCTgt/RBCCheckpointData.cpp
       (prepareCheckpointData()).
28

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 1     account keys. The iPod video played all three songs. This is consistent with the firmware source
 2     code that I examined and with Apple’s representation that the firmware of the iPod classic 5th
 3
       generation does not include keybag verification.
 4
               57.     The firmware source code that I examined is consistent with Apple’s
 5
       representation that the firmware of the iPod nano 1st generation does not include keybag
 6

 7     verification.

 8
                       2.       Database Verification
 9

10             58.     Based on my review of documents describing the database verification code and
11     source code, work on the database verification code started at least as early as April 2006. [See,
12
       e.g., Farrugia Dep. Exh. 28.] Although some of the database verification code is present in the
13
       iTunes 7.0, it was not enabled and thus not operational.
14

15

16

17

18

19             59.     Based on review of the source code and running tests described below, the
20
       database verification code was not enabled in iPod shuffle 1st generation. I synchronized an iPod
21
       shuffle 1st generation (firmware version 1.1.5) with iTunes 7.4 and transferred a single DRM-free
22
       song to the iPod. In the iTunes database, all database verification fields
23

24

25

26     74

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 1                               were set to zero. In addition, I changed the first byte of the fileMAC field
 2     in the DDBFileHeader record from 0 to 255. The iPod shuffle played the song both before and
 3
       after modifying the fileMAC field. The firmware source code for the iPod shuffle 1st generation
 4
       shows that this iPod shuffle largely ignores iTunesDB and uses iTunesSD instead. First, the
 5
       source code does not read or verify the fileMAC field. Second, the checkpoint data is missing the
 6

 7     DBVersion key, which is set to a value of 2 or greater to indicate support for database

 8     verification. This is consistent with Apple’s representation that the firmware of the iPod shuffle

 9     1st generation does not include database verification.
10
               60.     Based on my review of source code and running the following tests, database
11
       verification code was not enabled in the iPod shuffle 2nd generation. I synchronized an iPod
12
       shuffle 2nd generation (firmware version 1.0.4) with iTunes 7.4 and transferred a single DRM-free
13
       song to the iPod. In the iTunes database, all database verification fields were set to zero. In
14

15     addition, I changed the first byte of the fileMAC field in the DDBFileHeader record from 0 to

16     255. The iPod shuffle played the song both before and after modifying the fileMAC field. The
17     firmware source code for the iPod shuffle 2nd generation shows that this iPod shuffle largely
18
       ignores iTunesDB and uses iTunesSD instead. First, the source code does not read or verify the
19
       fileMAC field. Second, the checkpoint data is missing the DBVersion key. This is consistent
20
       with Apple’s representation that the firmware of the iPod shuffle 2nd generation does not include
21

22     database verification.

23             61.     Based on review of the source code and running tests described below, the

24     database verification code was not enabled in iPod shuffle 3rd generation. I synchronized an iPod
25     shuffle 3rd generation (firmware version 1.1) with iTunes 8.1 and transferred a single DRM-free
26
       song to the iPod. In the iTunes database, all database verification fields were set to zero. In
27
       addition, I changed the first byte of the fileMAC field in the DDBFileHeader record from 0 to
28

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 1     255. The iPod shuffle played the song both before and after modifying the fileMAC field. The
 2     firmware source code for the iPod shuffle 3rd generation shows that this iPod shuffle largely
 3
       ignores iTunesDB and uses iTunesSD instead. First, the source code does not read or verify the
 4
       fileMAC field. Second, the checkpoint data is missing the DBVersion key. This is consistent
 5
       with Apple’s representation that the firmware of the iPod shuffle 3rd generation does not include
 6

 7     database verification.

 8             62.     The firmware source code that I examined is consistent with Apple’s

 9     representation that the firmware of the iPod nano 1st generation does not include database
10
       verification.
11
               63.     Based on review of the source code and running tests described below, the
12
       database verification code was not enabled in iPod nano 2nd generation. I synchronized an iPod
13
       nano 2nd generation (firmware version 1.1.3) with iTunes 7.4 and transferred a single DRM-free
14

15     song to the iPod. In the iTunes database, all database verification fields were set to zero. Next, I

16     changed the first byte of the fileMAC field in the DDBFileHeader record from 0 to 255. The
17     iPod nano played the song both before and after modifying the fileMAC field. I also examined
18
       the source code for the version 1.0 firmware for the iPod nano 2nd generation. The database
19
       verification portion of the source code is incomplete and is not compiled into the firmware
20
       executable because the HAVE_IPOD_DATABASE_MAC macro is undefined.75 This has the
21

22     same effect as setting it to 0. Because the database verification code was incomplete and not

23     enabled, it had no effect on the iPod nano 2nd generation. This is consistent with Apple’s

24

25

26
       75
27       See, e.g., AIIA_Additional_20110211/2nd_Gen-
       N36_Nano/1.0/Firmware/Apps/iTunesToGo/Main/DulcimerDatabase.c at lines 4975-5158.
28

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 1     representation that the firmware of the iPod nano 2nd generation does not include database
 2     verification.
 3
               64.     Based on review of the source code and running tests described below, the
 4
       database verification code was not enabled in iPod classic 3rd generation. I synchronized an iPod
 5
       classic 3rd generation (firmware version 2.3) with iTunes 11.0.4 and transferred a single DRM-
 6

 7     free song and two FairPlay-protected songs to the iPod. In the iTunes database, all database

 8     verification fields were set to zero. Next, I changed the first byte of the fileMAC field in the

 9     DDBFileHeader record from 0 to 255. The iPod classic 3rd generation played the sonsgs both
10
       before and after modifying the fileMAC field. This is consistent with Apple’s representation that
11
       the firmware of the iPod classic 3rd generation does not include database verification.
12
               65.     Based on the tests described below, the database verification code was not enabled
13
       in iPod classic 4th generation. I synchronized an iPod photo (iPod classic 4th generation)
14

15     (firmware version 1.2.1) with iTunes 7.4 and transferred a single DRM-free song to the iPod. In

16     the iTunes database, all database verification fields were set to zero. Next, I changed the first
17     byte of the fileMAC field in the DDBFileHeader record from 0 to 255. The iPod played the song
18
       both before and after modifying the fileMAC field. This is consistent with Apple’s representation
19
       that the firmware of the iPod classic 4th generation does not include database verification.
20
               66.     Based on review of the source code and running tests described below, the
21

22     database verification code was not enabled in iPod classic 5th generation. I synchronized an iPod

23     video (iPod classic 5th generation) (firmware version 1.3) with iTunes 7.4 and transferred a single

24     DRM-free song to the iPod. In the iTunes database, all database verification fields were set to
25     zero. Next, I changed the first byte of the fileMAC field in the DDBFileHeader record from 0 to
26
       255. The iPod played the song both before and after modifying the fileMAC field. This is
27

28

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 1     consistent with Apple’s representation that the firmware of the iPod classic 5th generation does
 2     not include database verification.
 3

 4             E.      ATTACKS ON FAIRPLAY CONTINUED AFTER ITUNES 4.7
 5
               67.     Hackers continued to attack FairPlay after the introduction of iTunes 4.7 with its
 6
       improvements to FairPlay. For example, JHymn, PyMusique and JusteTune continued to attack
 7

 8     the local keybag and the communication between the iTunes Software and the iTunes Store.

 9     [See, e.g., Robbin Decl. at ¶¶ 41-47.] After the release of iTunes 6.0, programs like QTFairUse6

10     and myFairTunes7 were developed to make a copy of the decrypted audio during playback of the
11
       song. According to the documentation provided with the hacks, QTFairUse6 version 2.576 could
12
       circumvent the protection in FairPlay versions that corresponded with iTunes 6.0.4, 6.0.5, 7.0.0,
13
       7.0.1 and 7.0.2; and myFairTunes7 version 7.0.2c77 could circumvent the protection in FairPlay
14
       versions that corresponded with iTunes 6.0.5, 7.1.1.5, 7.2.0.34, 7.2.0.35, 7.3.0.54, 7.3.1.3, 7.3.2.6,
15

16     7.4.0.28, 7.4.1.2, 7.4.2.4 and 7.4.3.1. [See also, e.g., Robbin Decl. at ¶ 48; Farrugia Decl. at

17     ¶ 33.] Since hackers continued to attack all aspects of the FairPlay architecture, it was reasonable
18     for Apple to continue improving all aspects of the FairPlay architecture.
19

20

21

22

23

24
       76
         Downloaded from http://replay.waybackmachine.org/20070208062043/http://hymn-
25     project.org/download/QTFairUse6-2.5-src.zip; http://replay.waybackmachine.org/20070208062043/http://hymn-
       project.org/download/QTFairUse6-2.5.zip.
26     77
          Downloaded from http://www.freewarefiles.com/MyFairTunes-c_program_23754.html;
27     http://web.archive.org/web/20080103044709/http://www.hymn-project.org/download/myFairTunes-v7.0.2c-
       Source.rar.
28

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 1     III. Harmony
 2
               68.     Harmony is what RealNetworks has described as a Digital Rights Management
 3
       translation system.
 4

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           Figure 15. “What is Harmony™ Technology” help page from RealPlayer 10.5 build
25         6.0.12.1212 (digital signature dated 2/16/2005). See also the Martin Report at Fig. 2.
26     The RealPlayer help explains that Harmony would let users “use any online music store to
27
       purchase music;” would “convert your files to a format supported by your device automatically,
28

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 1     translating the DRM to one supported by your device;” and “[n]o matter what format your content
 2     is in, or what digital rights management (DRM) software is used, RealPlayer with Harmony™
 3
       Technology can convert and support the transfer of your content to your portable device.”
 4
               69.     With respect to transferring music from the RealPlayer Music Store to iPods,
 5
       Harmony attempted to make songs protected by RealNetworks’ DRM falsely appear to the iPod
 6

 7     like they were files protected by FairPlay DRM. For Harmony to accomplish this, it would have

 8     had to mimic the way FairPlay protected music. Among other things, it would have had to (i)

 9     create a keybag in the format recognized and understood by the iPod and (ii) store in the keybag
10
       the decryption keys necessary to unlock the music transferred to the iPod by RealPlayer.
11
       Therefore, Harmony had to know the format of the iPod keybag, how the keys were protected,
12
       and how to associate decryption keys with specific songs.
13
               70.     However, this description of Harmony suggests that Harmony could do much
14

15     more. Users could purchase music from “any online music store” and transfer the music to

16     portable devices from “Apple, Rio, Panasonic, PalmOne and more.” Harmony could accomplish
17     this transfer because it would “translat[e] the DRM to one supported by your device.”
18
       Translating the DRM means removing from the music file the current DRM protection, which is
19
       not supported by the music player, and then adding to the music file a different DRM protection,
20
       which is supported by the music player. When Dr. Martin says that he has “seen no evidence that
21

22     RealPlayer and Harmony were ever intended or able to strip FairPlay encryption from any songs

23     purchased through the iTunes Store” [Martin Report at ¶30], he is ignoring the evidence from this

24     help page that he included in his report [see Martin Report at Fig. 2]. The help page says that
25     Harmony was, in fact, intended to remove the DRM protection placed on a music file by “any
26
       online music store” as part of the DRM translation process. Furthermore, Dr. Martin never says
27
       that he used the Harmony technology (for example, to transfer a Helix-protected song to an iPod).
28

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 1     Consequently, Dr. Martin is no position to say with any certainty what Harmony could or could
 2     not do.
 3
                 71.    Harmony was included as a part of the RealPlayer jukebox application. Users
 4
       could use RealPlayer to transfer music, including RealNetworks’ DRM-protected music, to iPods.
 5
       [See Figure 16.] To load and play RealNetworks’ DRM-protected music on an iPod, iPod owners
 6

 7     had to use RealPlayer with Harmony, which “translated” the RealNetworks’ DRM to FairPlay-

 8     like protection that an iPod could recognize and use to decrypt the music. I have used RealPlayer

 9     10.5 (with Harmony) to transfer songs to an iPod. When RealPlayer transfers music to an iPod, it
10
       modifies the internal iPod database: iPod_Control/iTunes/iTunesDB. In addition, RealPlayer
11
       creates a new directory on the iPod (iPod_Control/Music/rndb) and stores several files therein.
12
       [See Table 1.]
13

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        Figure 16. Screen shot of RealPlayer 10.5 running on Windows XP. An iPod is connected
16     to the computer and the iPod’s contents are shown in the right hand pane under the caption
        “All Music On Device (JOHN KELLY').” The one song on the iPod was copied by iTunes
17      4.6.0. The music in the RealPlayer library is shown in the left hand pane under the caption
         “My Library.” Clicking the “Synchronize Device” button in the My Library pane causes
18                 RealPlayer to copy the songs in the RealPlayer library onto the iPod.

19
          Table 1. Files added to the iPod’s internal storage by RealPlayer 10.5 (with Harmony)
20        during synchronization of a single song from the RealPlayer music library to the iPod.

21     iPod_Control/Music/f02/04 Sonata in a Major K 322 .mp3
       iPod_Control/Music/rndb/26.dat
22     iPod_Control/Music/rndb/Backup/000/000002.tmd
       iPod_Control/Music/rndb/cd.cdx
23     iPod_Control/Music/rndb/cd.dbf
       iPod_Control/Music/rndb/cdtrax.cdx
24     iPod_Control/Music/rndb/cdtrax.dbf
       iPod_Control/Music/rndb/dbdata.txt
25     iPod_Control/Music/rndb/playgrps.cdx
       iPod_Control/Music/rndb/playgrps.dbf
26     iPod_Control/Music/rndb/playlist.cdx
       iPod_Control/Music/rndb/playlist.dbf
27     iPod_Control/Music/rndb/playlist.fpt
       iPod_Control/Music/rndb/playtrax.cdx
28
       iPod_Control/Music/rndb/playtrax.dbf
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 1     iPod_Control/Music/rndb/property.map
       iPod_Control/Music/rndb/tracks.dbf
 2     iPod_Control/Music/rndb/tracks.fpt
       iPod_Control/Music/rndb/tracks2.cdx
 3     iPod_Control/Music/rndb/trakinfo.cdx
       iPod_Control/Music/rndb/trakinfo.dbf
 4     iPod_Control/Music/rndb/version
 5
               72.     The changes to the format and encryption of the iPod keybag in iTunes 4.7.0
 6
       would have prevented Harmony, as it existed in Oct. 2004, from operating on iPods that had the
 7
       new embedded keybag. This is because Harmony would not write a keybag that would be
 8

 9     recognized and understood by these iPods. Among other things, Harmony would not write user

10     and key data in the correct format using the atom structure; would not encrypt each account key;

11     would not have or use a session key and session ID for each account key; would not encrypt the
12     session key using RSA encryption; and would not encrypt the account key using the session key.
13
       Instead, Harmony would continue to write an older style keybag that was no longer used by iPods
14
       with the embedded keybag. In short, Harmony would have no longer worked because it was
15
       based on an earlier kyebag format and encryption scheme that was no longer used by FairPlay.
16

17             73.     Real Networks apparently updated RealPlayer with Harmony to write an

18     embedded keybag, perhaps as early as April 26, 2005. [See, e.g.,

19     http://news.cnet.com/RealNetworks-rekindles-iPod-tech-tussle/2100-1027_3-5685286.html;
20
       Apple_AIIA00093862-63; Apple_AIIA00093860.]
21
               74.     There were many changes introduced with the universal keybag that would have
22
       prevented Harmony, as it existed in Sept. 2006, from operating on iPods that had the new
23
       universal keybag. This is because Harmony would not write a keybag that would be recognized
24

25     and understood by these iPods. Among other things, Harmony would not name the keybag file

26     correctly; would not write user and key data in the correct format using the universal keybag atom
27     structure; would not encrypt the keybag using the confidentiality key; and would not create an
28
       integrity value (i.e., the keybag verification code) using the integrity key. Instead, Harmony
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 1     would continue to write an older style keybag that was no longer used by iPods with the universal
 2     keybag. In short, Harmony would have no longer worked because it was based on an earlier
 3
       keybag format and encryption scheme that was no longer used by FairPlay.
 4

 5

 6     IV. Third Party Jukebox Compatibility Problems
 7             A.      OVERVIEW OF SOFTWARE DEVELOPMENT PROCESS
 8
               75.     As a general matter, hardware refers to the physical components and
 9
       interconnections of a system such as integrated circuits, circuit boards, fans, etc. The
10

11     functionality of these components is fixed at the time of their manufacture and assembly. Many

12     electronic devices contain programmable elements – microcontroller, microprocessor, multi-chip

13     processors, etc. – to increase their flexibility. Processors are designed to read instructions and
14
       produce results based on those instructions. Typically processors implement instructions to
15
       perform mathematical operations (addition, subtraction, multiplication, division, etc.), to perform
16
       comparisons, to change the flow of execution of instructions, to manipulate memory, and to
17
       produce output signals for use by other components. The ultimate function performed by the
18

19     electronic device is determined by the sequence of instructions executed by the processor.

20             76.     Software generally refers to the programs (instructions) executed by a computer
21     system. Since software is stored in a storage device (e.g., memory or disk drive), it can be
22
       changed or replaced in a way that hardware cannot. For efficiency, instructions executed by a
23
       processor are a sequence of numbers. It is not, however, efficient for humans to directly write
24
       programs as microprocessor instructions. Instead, software is written as source code, which
25

26     refers to human readable statements written in a programming language. Source code is then

27     converted into instructions executable by the hardware device using another program called a

28     compiler.
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 1             77.      Today, many hardware devices – not just computers – run software. Cars, VCRs
 2     and ovens are a just a few examples. The software (the instructions) and the data that these
 3
       devices need to operate are stored in memory inside the hardware device (often inside the
 4
       processor itself). Memory is a piece of hardware used to store information. It is analogous to the
 5
       shelves in a library that store books (data), let a person take books off the shelves (read data from
 6

 7     the memory) and put books onto the shelves (write data to the memory). There is a special name

 8     given to the software that operates such hardware devices and is stored in the memory inside the

 9     hardware device. It is called firmware. Like other types of software, firmware is written by a
10
       programmer as source code. Like other types of software, firmware source code is compiled to
11
       produce the object code actually executed by the hardware.
12
               78.      Software development is not a trivial exercise. It requires both skill and
13
       experience to produce a program that operates correctly and efficiently. Software development is
14

15     not simply a matter of writing in a computer language. Software engineers have learned over the

16     years that writing source code actually falls in the middle of the development process. The
17     software development effort can be broadly divided into seven phases as discussed below.78 A
18
       great deal of coordination, planning and communication is required to ensure that software
19
       development projects are conducted properly and efficiently. The degree of planning involved in
20
       developing even an update to existing software can be substantial.79
21

22

23
       78
         A few of the many references describing the software engineering process are Software Engineering Economics by
24     Barry W. Boehm (1981); Software Engineering: A Practitioner’s Approach by Roger Pressman, 2nd edition (1987);
       and Rapid Development: Taming Wild Software Schedules by Steve McConnell (1996).
25     79
          Apple’s work on iTunes provides a good illustration. Apple’s Schedule/Project Status updates are circulated
26     repeatedly throughout the software planning and development phase, distributed first several months before the
       company plans to introduce the software update at issue. [See, e.g., Apple_AIIA00090668 and
27     Apple_AIIA00231215.] These schedules also demonstrate the various groups involved in developing a software
       update and the necessary coordination between the disparate groups to ensure efficient progress.
28

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 1             79.     First, specifications for the software product must be developed. This step
 2     answers the questions of what hardware platform or platforms the product will run on, what
 3
       functions the product will include and, equally important, what functions the product will not
 4
       include. If the product must interact with other software and hardware products, those
 5
       requirements are also included.
 6

 7             80.     Next, the software must be designed. This is also referred to as defining the

 8     software architecture. In this step the organization of the software is defined. Modern software

 9     programs are not written as a single large unit. Instead, smaller units are defined to implement
10
       discrete functions or sub-functions. The programmers must decide how to subdivide the program
11
       and how each of the smaller units will communicate and interact.
12
               81.     Next, the source code is written, documented and debugged. Although the
13
       individual software units have been defined in terms of function and interface, this does not mean
14

15     that the source code to implement the units is defined or even obvious. Programmers use their

16     skill, experience and creativity to write source code that balances the conflicting demands for
17     execution speed, disk and memory use, readability, and many other factors. It is easy to
18
       understand how effective utilization of the computer's hardware resources – everyone wants their
19
       applications to run fast but use little disk or memory space and battery life – affects the eventual
20
       success of the product. It may not be obvious, however, that readability of the source code – e.g.,
21

22     comments in the source code and good programming style – is also important to the success of a

23     software development effort. Since commercial programming efforts will generally involve more

24     than one programmer over the life of a project, it could be disastrous if one or more of the
25     programmers write source code that cannot be understood by the others or is very difficult to
26
       understand. This could, for example, lead to misunderstandings that result in the incorrect
27
       behavior of the program. This could also lead to duplication of effort if a programmer decides it
28

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 1     is easier to write a new unit of source code rather than interface with existing units of source
 2     code. Incorporating multiple versions of a source code unit into a program increases the
 3
       probability that bugs will be introduced that could interfere with the proper or intended operation
 4
       of the program or device.
 5
                  82.   Next, each unit of source code is tested to make sure it operates as planned. This
 6

 7     step is called unit testing. The programmer or special test engineers may be responsible for unit

 8     testing.

 9                83.   Next, the various units of source code must be integrated. Although the software
10
       architecture specifies how the units are to interact, the actual implementation may not behave as
11
       the architect envisioned. This is of particular concern when multiple programmers are involved.
12
       Programmers may have interpreted the interface specifications differently or may have made
13
       different assumptions when the specifications were unclear or incomplete. Again, programming
14

15     style is an issue. All programmers must adhere to the same naming conventions for programming

16     units in order for the source code to properly work together.
17                84.   Next, the software product as a whole must be tested. Every defined function must
18
       be operational and work as specified. All other actions should result in warning or error
19
       messages, and undesirable behavior should be prevented. Every possible action available to the
20
       user must be tested including sequences of actions that were not envisioned by the specification
21

22     or software architecture. This stage is called validation testing and is usually performed by test

23     engineers according a testing protocol.

24                85.   Finally, the software product is tested in real world conditions. This is often
25     accomplished by allowing a select group of customers to begin using the new software. Alpha
26
       testing is the name given to the earliest round of field testing. Beta testing is the name given to
27

28

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 1     the subsequent round of field testing. The alpha version of the software is expected to have more
 2     problems than the beta version of the software.
 3
               86.     The problems uncovered during testing may have been introduced at any stage of
 4
       the development process. It may be a programming bug in a single software module, or a
 5
       problem with a module specification or a problem with the software architecture. After
 6

 7     identifying the nature of the problem, a solution must be developed and implemented. After the

 8     problem is fixed, all subsequent development stages must usually be repeated. For example, a

 9     problem with the software architecture may require repeating the design, writing, and testing
10
       stages for the affected modules. Once testing determines that the product's quality has reached an
11
       acceptable level, it is ready for sale or to be put into production.
12
               87.     Even after all of these stages of review and testing, bugs may not appear until the
13
       program is actually released and used by end users. This happens for a variety of reasons. In
14

15     particular, it is generally impossible, for all but the most trivial programs, to identify and test all

16     possible inputs to and uses of a program in the finite amount of time available for developing a
17     product. As Dr. Martin acknowledged, most programs have bugs. [Martin 03/18/2011 Dep. Tr.
18
       at 51:22-52:3, 54:2-15, 61:13-16.]
19
               88.     Let me provide a few examples of commercial software products and services
20
       from well-established software companies that contained bugs after release to the public. First, as
21

22     documents relied on by Plaintiffs’ experts show, various versions of iTunes contained bugs that

23     could interfere with the operation of iTunes or iPods. iTunes 7, for example, had bugs such as

24     stuttering playback, problems with the automatic download of cover art, problems with gapless
25

26

27

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 1     playback, and stability issues.80 This reflects that bugs may exist even where two pieces of
 2     software (here iTunes and iPod firmware) are designed to work together and where the
 3
       developers designing and testing the programs work for the same company. As a second
 4
       example, Intuit fixed numerous bugs in Quicken Essentials for Mac from version 1.2.0 through
 5
       1.7.4, such as bugs that caused the program to unexpectedly quit, perform the incorrect “Market
 6

 7     Value calculation for bonds,” and prevented the search feature from finding “dollar amounts that

 8     contain more than three digits.”81 As a third example, Google recently experienced a bug in their

 9     Gmail service. According to Google, “We released a storage software update that introduced the
10
       unexpected bug, which caused 0.02% of Gmail users to temporarily lose access to their email.”
11
       The customer data was so thoroughly compromised on Google's servers that Google had to
12
       restore affected accounts from backup tapes.82 These are merely examples. I could have selected
13
       examples from any company that provides details of the changes for each software release or has
14

15     an active online user community where product problems are discussed.

16

17

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       80
          See, e.g., http://pogue.blogs.nytimes.com/2006/09/18/18pogues-posts-2/;
24
       http://appleinsider.com/articles/06/09/27/apple_looks_to_squash_bugs_with_itunes_701; see also Declaration of
       Roger G. Noll on Liability And Damages dated April 3, 2013, Appendix B, references 843, 854-856, 894, 906-907,
25     909-926.
       81
26       See, e.g., http://quicken.intuit.com/support/help/patching/quicken-essentials-for-mac-release-
       notes/GEN82912.html.
27     82
            See, e.g., http://www.computerworld.com/s/article/9212178/Google_still_working_to_restore_Gmail_service.
28

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 1              B.       THERE IS OVERWHELMING EVIDENCE OF THIRD PARTY JUKEBOX
 2                       BUGS

 3              89.      In the remainder of this section I will describe many errors that were present in
 4
       third party jukebox programs and describe how they prevented the iPod from functioning as
 5
       intended and expected.83
 6
                90.      From 2001 (shortly after Apple introduced the iPod) to the present, various
 7

 8     developers have released dozens of third party jukebox programs that have attempted to add and

 9     manage songs and other media to the iPod. These programs were not supported by Apple and

10     were developed without access to Apple’s source code and other confidential information
11     regarding iPod firmware, iTunes Software, etc. As one would expect, these programs have not
12
       been trouble free. Many interfered with the proper operation of the iPod and/or iTunes. The
13
       documentation for some of these programs listed known or fixed problems. Users of these
14
       programs posted bug reports and sought help in forums on the program’s web site or elsewhere.
15

16     For example, there are reports of music disappearing from the iPod, playlists disappearing from

17     the iPod, songs not playing or skipping, iTunes not recognizing the iTunes database, duplicate

18     files, and artwork not displaying. These kinds of problems are very similar to the support
19
       requests that were being made to Apple. [See, e.g., Table 2.] In §§ V and VI, I focus specifically
20
       on problems caused by the use of Winamp and RealPlayer. In Exhibit C, I give a sample of
21
       problem reports for other third party applications including Amarok, Anapod Explorer, EphPod,
22

23

24     83
          In my declaration submitted earlier in this case, I performed a simple experiment to show how sensitive the iTunes
25     database was. [See, e.g., Kelly Declaration at ¶ 39.] Dr. Martin, however, appears to misunderstand the purpose of
       that experiment. [See Dr. Martin’s discussion in the Martin Report at ¶¶ 64-68] As I said in my declaration, I
26     “changed a single byte of the information added when the third song was transferred to the iPod in order to simulate
       a bug in the program that transferred the third song to the iPod.” [See Kelly Declaration at ¶ 39 (emphasis added).]
27     As I also said in the declaration, this experiment shows that “the database structure is very sensitive and all errors
       have the potential to prevent the iPod from functioning as intended and expected.” [See Kelly Declaration at ¶ 39.]
28

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 1     Floola, iPod Manager for foobar2000, Media Center, MediaMonkey, MyPod, XPlay, Yamipod,
 2     Banshee, GNUpod, and gtkpod.
 3
               91.     Furthermore, Apple engineers investigated complaints about iPods not operating
 4
       properly and concluded that the cause was the use of third-party applications. [See, e.g., Farrugia
 5
       Decl. at ¶ 20; Farrugia Dep. Tr. at 164:19-166:16, 186:15-187:19; Robbin Decl. at ¶¶ 50-52;
 6

 7     Robbin Dep. Tr. at 89:1-90:7; Heller Dep. Tr. at 87:5-89:10.] The following are a few samples

 8     of cases opened by AppleCare responding to complaints about the operation of iPods by users

 9     who had used a third-party application to load and play music on the iPod:
10
            Table 2. Sample of Apple support cases involving third party jukebox applications.
11
                                          3rd Party
12     Date           iPod Model                          Problem Report                       Bates Number
                                          Jukebox
                                                          “error about corrupt music
13                    iPod (20GB with                                                          Apple_AIIA_C_
       3/21/2004                          RealPlayer      library when connecting
                      dock connector)                                                          00205249
                                                          iPod”
14
                      iPod (20GB with                                                          Apple_AIIA_C_
       3/22/2004                          RealPlayer      “realplayer erased ipod”
15                    dock connector)                                                          00205250
                                                          “Hissing sound in the
                      iPod (40GB                                                               Apple_AIIA_C_
16     8/4/2004                           Winamp          headphones while playing
                      Click Wheel)                                                             00205300
                                                          the iPod”
17                                                        “Customer attempted to
                                                          transfer a real player file and
18                    iPod (40GB with                     the iPod noted that the file         Apple_AIIA_C_
       8/22/2004                          RealPlayer
                      dock connector)                     isn’t compatible and now the         00205310
19                                                        customer can’t access his
                                                          music.”
20                    iPod (40GB                          “specific songs being                Apple_AIIA_C_
       12/27/2004                         RealPlayer
                      Click Wheel)                        skipped on ipod”                     00205363
21                                                        “ipod skips through all songs        Apple_AIIA_C_
       1/10/2005      iPod 4GB Blue       RealPlayer      without playing them”                00205385
22                    iPod (20GB click                    “Customers songs skip                Apple_AIIA_C_
       1/14/2005                          RealPlayer
                      wheel)                              without playing”                     00205387
23                                                        “songs not transferring to           Apple_AIIA_C_
       1/22/2005      iPod 4GB Pink       RealPlayer      iPod”                                00205398
24                                                        “Song will not finish after
                      iPod (40GB          Winamp                                               Apple_AIIA_C_
       2/16/2005                                          about half way through a
                      Click Wheel)        and anapod                                           00205419
25                                                        song.”
                      iPod Shuffle                        “iPod is full with only 30           Apple_AIIA_C_
       3/15/2005                          RealPlayer
26                    (1GB)                               songs”                               00205452

27

28

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 1                                                         “all music disappeared from
                                                           iPod”
 2                    iPod Mini (4GB                                                          Apple_AIIA_C_
       4/2/2005                            RealPlayer      “under about it shows 0
                      2nd Gen) Pink                                                           00205466
                                                           songs on ipod, 3.7 gig, 2.4
 3                                                         gig available”
                                                           “song only plays for 5
 4                    IPOD (20GB                                                              Apple_AIIA_C_
       5/9/2005                            RealPlayer      minutes when song is 11
                      Click Wheel)                                                            00205474
                                                           minutes long”
 5                    iPod Mini (4GB                       “songs skipping - random           Apple_AIIA_C_
       6/5/2005       2nd Gen) Pink,       RealPlayer
 6                                                         songs”                             00205489
                      E/Personalized
                                                           “iPod lost all songs after
 7                                                         trying to sync with                Apple_AIIA_C_
       7/31/2005      iPod 4GB Silver      RealPlayer      realplayer”
 8                                                                                            00205537
                                                           “cust says iPod not appearing
                                                           in iTunes”
 9                    iPod Mini (4GB                                                          Apple_AIIA_C_
       8/4/2005                            RealPlayer      “songs missing from iPod”
                      2nd Gen) Blue                                                           00205541
10                                                         “songs erased from ipod”
                                                           “was using real player to
11                    iPod Nano, 4GB,                                                         Apple_AIIA_C_
       1/18/2006                           RealPlayer      transfer songs real player
                      Black                                                                   00205634
                                                           showed that the songs were
12                                                         still on the iPod”
                                                           “music missing from ipod           Apple_AIIA_C_
13     3/2/2006       iPod 5th Gen         Winamp          after updating with winamp”        00205657
14             92.     For the iPod to properly play songs and video, the iTunes database must be
15
       correctly formatted, contain valid data and include all of the tracks that have been copied to the
16
       iPod. In addition, in order for the iPod to properly play FairPlay protected songs, the iPod keybag
17
       must be correctly formatted, contain valid account keys for the songs on the iPod and correctly
18

19     associate account keys with iTS accounts.

20             93.     Furthermore, it is not sufficient for a third party jukebox application to write a

21     correctly formatted iTunes database and keybag in order to fully support the iPod’s music and
22
       video features. It must also properly handle the other files and folders on the iPod such as the
23
       artwork database, play counts file and On-The-Go playlist files. It must format the music files
24
       properly (including tags). It must correctly handle exceptional conditions such as filling the
25
       iPod’s internal storage. It must correctly interact with the Firewire or USB connection. Failures
26

27     in each of these areas can be found in the problem reports of Exhibit C and Table 2. I will also

28     illustrate some of these problems in §§ Vand VI.

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 1               94.     A third party jukebox application must also properly coordinate access to the iPod
 2     with iTunes. First, a user may want to purchase songs and videos from iTS and then use iTunes
 3
       to copy the music and videos to the iPod. Second, the user may use iTunes to manage other iPod
 4
       features such as photographs, contacts, calendars, notes and voice memos. Thus, a third party
 5
       jukebox cannot assume that it is the only program reading and writing files on the iPod including
 6

 7     the iTunes database and keybag. In fact, certain versions of Winamp could not initialize a

 8     freshly-formatted iPod and relied on the user using iTunes to perform this initialization. Failures

 9     to operate properly with iTunes can be found in the problem reports in the discussion of §§ V and
10
       VI.
11

12

13     V.        Winamp Compatibility Issues
14
                 95.     Winamp is a media player from Nullsoft that runs under Microsoft Windows.
15
       Winamp supported playback of MP3 files in its initial release and has subsequently added support
16

17     for additional formats. The functionality of Winamp can be extended with Winamp plugins.

18     Two plugins have been developed to support transferring music to the iPod.

19               96.     The ml_ipod plugin is an open source project hosted on Source Forge
20
       [http://mlipod.sourceforge.net/]. Version 1.0 of ml_ipod was released on 04/05/2004 [see, e.g.,
21
       http://mlipod.sourceforge.net/?page=changelog]. When using ml_ipod, a connected iPod is
22
       displayed under “Devices” in the Winamp Media Library window [see, e.g., Figure 17].
23
                 97.     The authors of ml_ipod produced two documents listing the releases of the
24

25     program: a version history84 and a change log85. The date on which each version was released is

26

27     84
            http://mlipod.sourceforge.net/index.php?page=home&show=all
28

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 1     also provided in these documents. The version history also contains download links for many
 2     releases of ml_ipod. The source code for ml_ipd – for both past and current releases – is
 3
       available at Source Forge.
 4

 5

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15          Figure 17. Screen shot of Winamp 5.2 with ml_ipod showing the contents of a connected
                                                    iPod.
16
                  98.     The pmp_ipod plugin was written by Nullsoft and bundled with Winamp
17
       beginning with Winamp version 5.2 in Feb. 2006. When using pmp_ipod, a connected iPod is
18
       displayed under “Portables” in the Winamp Media Library window [see, e.g., Figure 18].
19

20

21

22

23

24

25

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27     85
            http://mlipod.sourceforge.net/?page=changelog
28

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 1

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        Figure 18. Screen shot of Winamp 5.2 with pmp_ipod showing the contents of a connected
11                                               iPod.
12             99.     Both the ml_ipod and pmp_ipod plugins could interfere with the proper operation
13
       of the iPod. Some of the problems were caused by incorrect modifications to the database. Other
14
       problems were caused by other incorrect interactions between the plugin and the iPod.
15

16
               A.      ML_IPOD PLUGIN
17

18                     1.       ml_ipod Plugin Overwrites iTunes Data

19             100.    ml_ipod would fill many fields in iTunes database with zero or some other
20
       constant value and would omit certain track and playlist objects from the database. [See Table 3.]
21
       Ml_ipod would make these changes to all tracks and playlists on the iPod including tracks and
22
       playlists that had been previously written by iTunes. As a result, the user would lose information
23
       about FairPlay encryption (e.g., drmUserID, drmVersions), volume adjustments (e.g.,
24

25     volumeAdjustment, normalizedVolume), artwork (e.g., artworkCount, artworkSizeInBytes),

26     bookmarks (e.g., startTimeInMS, stopTimeInMS), playlist settings (e.g., repeatMode, playOrder),
27     playlist sorting (e.g., PlaylistSortTable objects), etc.
28
               101.    This bug was apparently fixed in version 1.40, which was released on 06/12/2006.
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 1
       Table 3. Examples of changes made by ml_ipod version 1.32 to an iTunes database written
 2     by iTunes 4.7.0. [See, e.g., ml_ipod source code, file itunesdb.cpp revision 1.59 at functions
            mk_mhbd(), mk_mhit(), mk_mhyp(), mk_mhip().] This list is not intended to be
 3        comprehensive for the iTunes 4.7.0 database. Additional fields and objects would be
                    changed or deleted from later version of the Dulcimer database.
 4
       Object                             Field                        Change
 5     DB File Header                     minorVersion                 Replace with 0x0c
       DB File Header                     checksum                     Replace with 0
 6     DB File Header                     Platform                     Replace with 0
       Track Info Header                  fileExtension                Replace with 0
 7     Track Info Header                  hasVariableBitRate           Replace with 1
       Track Info Header                  supportsID3Tags              Replace with 1
 8     Track Info Header                  isCompilationTrack           Replace with 0
       Track Info Header                  Date                         Replace with 0x8c3abf9b
 9     Track Info Header                  volumeAdjustment             Replace with 0
       Track Info Header                  startTimeInMS                Replace with 0
10
       Track Info Header                  stopTimeInMS                 Replace with 0
11     Track Info Header                  normalizedVolume             Replace with 0
       Track Info Header                  recentPlayCount              Replace with 0
12     Track Info Header                  drmUserID                    Replace with 0
       Track Info Header                  isUserDisabled               Replace with 0
13     Track Info Header                  commonRating                 Replace with 0
       Track Info Header                  beatsPerMinute               Replace with 0
14     Track Info Header                  artworkCount                 Replace with 0
       Track Info Header                  maxArtworkCount              Replace with 0
15     Track Info Header                  artworkSizeInBytes           Replace with 0
       Track Info Header                  sampleRate                   Replace with 0
16     Track Info Header                  releaseDate                  Replace with 0
       Track Info Header                  audioFormat                  Replace with 0
17     Track Info Header                  contentRating                Replace with 0
       Track Info Header                  drmVersionsValid             Replace with 0
18     Track Info Header                  drmVersions                  Replace with 0
       Track Info Header                  userSkipCount                Replace with 0
19     Track Info Header                  recentSkipCount              Replace with 0
       Track Info Header                  skipDate                     Replace with 0
20     Track Info Header                  albumArtworkStatus           Replace with 0
       Track                              EQPreset object              Deleted
21     Track                              Grouping object              Deleted
       Playlist Header                    shuffleTracks                Replace with 0
22     Playlist Header                    tracksHaveBeenShuffled       Replace with 0
23     Playlist Header                    isVoiceMemosPlaylist         Replace with 0
       Playlist Header                    creationDate                 Replace with 0
24     Playlist Header                    persistentID                 Replace with 0
       Playlist Header                    applicationID                Replace with 0
25     Playlist Header                    repeatMode                   Replace with 0
       Playlist Header                    playOrder                    Replace with 0
26     Playlist Item Header               itemID                       Replace with trackID
       Playlist Item Header               creationDate                 Replace with 0
27     Playlist                           PrivateITunesData object     Deleted
       Playlist                           PlaylistSortTable objects    Deleted
28

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 1                       2.       ml_ipod Plugin Deletes iTunes Playlists
 2
                102.     ml_ipod could also delete playlists stored on the iPod by iTunes because it did not
 3
       correctly interpret certain objects written to the iTunes database by iTunes.86 When ml_ipod
 4
       encountered such an object it would simply skip the object, or it would stop reading the iTunes
 5

 6     database altogether. Then, if ml_ipod rewrote the iTunes database, it would omit the skipped

 7     information that had previously been stored by iTunes in the iTunes database.

 8              103.     To illustrate this problem, I used iTunes 4.7 to write seven songs and seven
 9
       playlists (90’s Music, Easy Listening, My Playlist, My Top Rated, Recently Added, Recently
10
       Played, and Top 25 Most Played) to an iPod photo running firmware version 1.0. The iPod
11
       correctly displayed all seven songs and all seven playlists. I then opened the iPod using Winamp
12
       version 5.2 with ml_ipod plugin version 1.32. Winamp showed that there were seven songs and
13

14     one playlist (90’s Music) on the iPod. The 90’s Music playlist did not contain any songs even

15     though iTunes placed two songs in that playlist. ml_ipod stopped reading the iTunes database
16     when it encountered and incorrectly interpreted the SmartPlaylistInfo object associated with the
17
       90’s Music playlist. All songs in 90’s Music and all playlists after 90’s Music in the iTunes
18
       database were not read by ml_ipod.
19
                104.     I then transferred one additional song to the iPod. At this point Winamp showed
20

21     that the iPod contained eight songs and one playlist. When the iPod was disconnected from the

22     computer, it also showed eight songs and one playlist. The songs in the 90’s Music playlist and

23
       86
24        In the function get_mhod(), ml_ipod intentionally skips PrivateITunesData and podcast DDB objects, but treats all
       other DDB objects as names (i.e., a DDB object containing a character string). As a result, ml_ipod treats data at
25     offset 40 within the object as a string length when the object may not contain a character string. In the function
       get_pl(), ml_ipod may treat a DDB object as a DDBPlaylistItem (i.e., a track in a playlist) when it is not a playlist
26     item. As a result, ml_ipod incorrectly treats data at certain locations within the object as lengths. Since a length is
       not stored at these locations in, for example, a SmartPlaylistInfo object or a PlaylistSortTable object, Winamp does
27     not correctly interpret the iTunesDB. [See, e.g., revision 1.59 of itunesdb.cpp (version 1.32 of ml_ipod) at functions
       get_pl(), get_mhod().]
28

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 1     six entire playlists written by iTunes were completely lost when Winamp rewrote the iTunes
 2     database. [See Figure 19.]
 3
                105.   The changelog says that bug #1501220 (“Smart playlists created in iTunes get
 4
       destroyed”) was fixed in version 1.40 (released 06/12/2006).
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           Figure 19. Playlist display on the iPod photo. The photograph on the left shows the
17      playlists on the iPod after iTunes synchronizes songs and playlists. The photograph on the
         right shows the playlists on the iPod after Winamp transferred an additional song to the
18                                                  iPod.

19

20                     3.       ml_ipod Plugin Prevents The iPod From Playing Videos
21
                106.   Customers reported that after an iPod video was connected to Winamp using
22
       ml_ipod, the iPod would only play the audio portion of video tracks. [See
23
       http://forums.winamp.com/showthread.php?t=234701; the first post to the thread was Jan. 4,
24

25     2006.]

26              107.   To illustrate this problem, I used iTunes 6.0.0.18 to copy three songs and two

27     video clips to a 60GB iPod video (i.e., iPod classic 5th generation) running firmware version 1.0.
28
       The iPod displayed the three songs under the Songs menu and the video clips under the Movies
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 1     menu as shown in Figure 20. The songs and video clips played as expected. Then I ran Winamp
 2     version 5.12 with ml_ipod version 1.30 (released 9/23/2005). There were no songs or movies in
 3
       the Winamp library. Winamp recognized the iPod and displayed it under Devices. I then ejected
 4
       the iPod without displaying its contents, copying media to the iPod or otherwise changing its
 5
       contents. Nevertheless, Winamp rewrote the iTunes database deleting an entire playlist section.
 6

 7     As a result, the iPod video then displayed all five tracks under both the Songs menu and the

 8     Movies menu as shown in Figure 21. In addition, the iPod video will only play the audio portion

 9     of the video clips regardless of which menu is used to select the video clip.
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        Figure 20. Contents of an iPod video after iTunes 6.0 transfers three songs and video clips.
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             Figure 21. Contents of the iPod video after Winamp rewrites the iTunes database
27                                containing both songs and video clips.
28

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 1             108.    The change log for ml_ipod also mentions a problem with video files. The entry
 2     for ml_ipod version 1.40 (released 6/12/2006) includes the following in the list of fixes:
 3
       “Handling of video files (*.mp4) for 5G iPods.” [See ml_ipod changelog.]
 4

 5
                       4.       ml_ipod Plugin Deletes On-The-Go Playlists
 6
               109.    An On-The-Go playlist is a playlist that can be created and saved on the iPod,
 7
       rather than in iTunes. Until a song has been added to the On-The-Go playlist, the iPod displays
 8

 9     instructions for creating the playlist instead of its contents. On a click wheel iPod such as the

10     iPod photo, the user creates an On-The-Go playlist by selecting a song, album, artist, or playlist
11     and holding down the center button until the display flashes indicating that the songs have been
12
       added to the On-The-Go playlist. [See Figure 22.] After songs have been added to the On-The-
13
       Go playlist, the iPod displays the contents of the playlist and controls for deleting and saving the
14
       playlist. [See Figure 22.] When the user selects “Save playlist” on the iPod, the user is prompted
15

16     to confirm their selection. [See Figure 23.] Then a new playlist with an automatically generated

17     name such as “New Playlist 1” is created and the On-The-Go playlist is emptied. [See Figure 23.]

18     The user can create additional playlists in this fashion. The iPod will delete the On-The-Go
19     playlists (both saved and unsaved) when the iTunes database is next updated.
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         Figure 22. The photograph on the left shows the instructions for creating an On-The-Go
11     playlist on an iPod photo. This screen is displayed when the user selects “On-The-Go” from
        the Playlist menu but the On-The-Go playlist is empty. The photograph on the right is the
12                  iPod photo after one song has been added to the On-The-Go playlist.
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23     Figure 23. The photograph on the left shows the confirmation screen displayed on the iPod
         photo when the user chooses to save an On-The-Go playlist. [See also Figure 22.] The
24        photograph on the right shows the Playlists menu after the user saves an On-The-Go
         playlist. Subsequent saved On-The-Go playlists will be named “New Playlist 2,” “New
25                                          Playlist 3,” etc.

26             110.    If iTunes is configured to automatically update the iPod, the On-The-Go playlists
27     (both saved and unsaved) will be copied to the iTunes library and preserved. iTunes names the
28

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 1     On-The-Go playlists “On-The-Go 1”, “On-The-Go 2”, etc. The user can then use iTunes to
 2     synchronize these playlists to the iPod as desired.
 3
               111.    In contrast, Winamp with ml_ipod plugin version 1.32 displays the unsaved On-
 4
       The-Go playlist but not the saved On-The-Go playlists when the iPod is connected. In addition,
 5
       Winamp with ml_ipod plugin version 1.32 does not copy saved or unsaved On-The-Go playlists
 6

 7     into the Winamp library. When the iPod is ejected from Winamp, both the saved and unsaved

 8     On-The-Go playlists disappear from the iPod. Several users complained on the Winamp forums

 9     about the loss of On-The-Go playlists. [See, e.g.,
10
       http://forums.winamp.com/showthread.php?t=195885.]
11
               112.    Based on the changelog, the handling of On-The-Go playlists was apparently fixed
12
       in version 1.40 (released 06/12/2006).
13

14
                       5.       ml_ipod Plugin Truncates The iTunes Database When The Disk Is Full
15

16             113.    Winamp with the ml_ipod plugin version 1.10 does not properly handle the iPod

17     database when the iPod disk is full. To illustrate this, I completely filled the iPod photo’s hard

18     drive by using Winamp to copy over 10 GB of songs to the iPod and using Windows Explorer to
19     copy approximately 50 GB of data files to the root folder of the iPod. Then I connected the iPod
20
       to Winamp and created five playlists from the existing songs on the iPod. Winamp gave no
21
       indication of error when creating the playlists. I ejected the iPod, again with no indication of
22
       error, but the playlist menu on the iPod shows that the iTunes database was truncated. Only one
23

24     of the playlists I created using Winamp was displayed. In addition, a playlist with a “blank”

25     name and no contents was also shown. [See Figure 24.]

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                  Figure 24. iPod photo showing the playlist display after ejecting the iPod.
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16                     6.       Other Issues and Customer Complaints About ml_ipod

17             114.    The ml_ipod version history and changelog summarize changes to the program,
18
       including bug fixes. In addition, users reported bugs on the SourceForge web site
19
       [http://sourceforge.net/tracker/?group_id=106528&atid=644704] and Winamp forums
20
       [http://forums.winamp.com]. I will give a few examples below.
21

22             115.    A user reported that music files imported by ml_ipod with the .MP3 rather than

23     .mp3 (uppercase vs. lower case) file extension caused his iPod nano to “crash.” [See

24     http://sourceforge.net/tracker/?func=detail&aid=1566624&group_id=106528&atid=644704.]
25     This “bug” was assigned ID 1566624 and was reported fixed in the ml_ipod change log for
26
       version 2.00. [See ml_ipod changelog.]
27

28

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 1             116.    A user reported that deleting songs from the iPod did not work properly and that
 2     the iPod accumulated multiple copies of some songs. [See, e.g.,
 3
       http://forums.winamp.com/showthread.php?t=175357.]
 4
               117.    Many users of the ml_ipod plugin reported problems after upgrading to Winamp
 5
       5.2, which included the pmp_ipod plugin. Although the plugins were incompatible, Winamp
 6

 7     allowed both to be installed on the same computer and did not warn the user of the potential for

 8     problems. Symptoms included the corruption of the iTunes database and apparent loss of all the

 9     music files on the iPod. [See, e.g., http://forums.winamp.com/showthread.php?threadid=239074,
10
       http://forums.winamp.com/showthread.php?threadid=238970,
11
       http://forums.winamp.com/showthread.php?t=239011.] ml_ipod version 1.40 contained the
12
       warning, “This iPod plugin can not [sic] coexist with pmp_ipod.dll which is found in your
13
       Winamp directory. Using both DLLs together will result in loss of your iPod music files!!!” [See,
14

15     e.g., warn_pmp_ipod.txt, revision 1.1.] The ml_ipod plugin was modified to prevent ml_ipod

16     from running if pmp_ipod was also installed on the user’s computer. [See, e.g., function init() in
17     view_ipod.cpp, revision 1.186.]
18
               118.    ml_ipod could not initialize an iPod that was restored to factory condition and did
19
       not contain an iTunesDB, amongst other important files and directories, until version 2.04
20
       (released 04/14/2007). [See change log.]
21

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               B.      PMP_IPOD PLUGIN
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24                     1.       pmp_ipod Plugin Deletes On-The-Go Playlists

25
               119.    The pmp_ipod plugin did not correctly handle saved On-The-Go playlists. When
26
       an iPod containing a saved On-The-Go playlist is connected to Winamp version 5.2 with
27
       pmp_ipod version 0.3, Winamp displays an empty playlist named “On The Go”. [See Figure 25.]
28

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 1     When the iPod is ejected, the On-The-Go playlist(s) on the iPod are lost. Either an empty playlist
 2     (named “On The Go” without dashes between the words) appears on the iPod [see Figure 26.], or
 3
       the “On The Go” playlist disappears entirely [see Figure 27.].
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18           Figure 25. Screen shot of Winamp showing the contents of “On The Go” playlist.

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11       Figure 26. iPod photo showing the empy “On The Go” playlist created by Winamp with
                                             pmp_ipod.
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        Figure 27. iPod video showing that the “On The Go” (without dashes between the words)
24                                      playlist is not displayed.
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 1                     2.       pmp_ipod Plugin May Leave The iTunes Database In An Inconsistent
                                State
 2

 3             120.    If the transfer of songs from a Winamp media library using pmp_ipod to a

 4     connected iPod is interrupted, for example, a power fault, the list of tracks in the iTunes database
 5
       may be inconsistent with the master playlist. To simulate this, I began a transfer of fifty-four
 6
       songs from Winamp 5.2 (with pmp_ipod version 0.3) to an iPod photo. I interrupted the transfer
 7
       at about thirty-five songs by disconnecting the USB cable linking the iPod to the computer. The
 8
       track list on the iTunes database contained thirty-three items, but the number of items in the
 9

10     master playlist was only thirty-two.

11

12                     3.       Other Issues and Customer Complaints About pmp_ipod

13             121.    The Winamp web site provides forums where users can discuss technical problems
14     and report bugs. [See http://forums.winamp.com/.] These forums contain many reports of
15
       problems with pmp_ipod. I will discuss a few examples below.
16
               122.    As described above, the first version of Winamp including the pmp_ipod plugin
17
       was incompatible with ml_ipod and caused corruption of the iTunes database. [See, e.g.,
18

19     http://forums.winamp.com/showthread.php?threadid=239074,

20     http://forums.winamp.com/showthread.php?threadid=238970,

21     http://forums.winamp.com/showthread.php?t=239011.] According to the Winamp version
22
       history, this conflict was “fixed” in Winamp version 5.21. [See
23
       http://www.winamp.com/help/Version_History.]
24
               123.    A user reported that Winamp deleted all music from an iPod. [See
25
       http://forums.winamp.com/showthread.php?t=238764.]
26

27             124.    Users also reported that the iPod shuffle would not play the tracks of an album in

28     order. [See, e.g., http://forums.winamp.com/showthread.php?t=240694&highlight=ipod.]

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 1             125.    The Winamp version history lists several additional fixes for pmp_ipod including
 2     in very recent versions.
 3
                   •   “Fixed: [pmp_ipod] Artist list on iPod not sorting ‘The’ correctly” [version 5.3];
 4
                   •   “Fixed: [pmp_ipod] Incompatibility with iTunes 7.1” [version 5.34];
 5

 6                 •   “Fixed: [pmp_ipod] Potential incompatability issues with latest version of iTunes”

 7                     [verion 5.5];

 8                 •   “Fixed: [pmp_ipod] Physical deletion of playing file” [version 5.53];
 9
                   •   “Fixed: [pmp_ipod] Filename length incompatibility with iPod Music Quiz v2”
10
                       [version 5.53];
11
                   •   “Fixed: [pmp_ipod] Various database, albumart, playback & disconnection issues”
12

13                     [version 5.55];

14                 •   “Fixed: [pmp_ipod] Reading of Play Count statistics” [version 5.55];

15                 •   “Fixed: [pmp_ipod] Deletion of non-existent files from database” [version 5.55];
16
                   •   “Fixed: [pmp_android/ipod/usb] Issue with forward slashes in playlist paths”
17
                       [version 5.6];
18
                   •   “Fixed: [pmp_ipod] Compilation flag when Album Artist is ‘Various Artists’”
19

20                     [version 5.601];

21                 •   “Fixed: [pmp_ipod] Sync and Eject issues” [version 5.601];
22                 •   “Fixed: [pmp_ipod] Nano & Shuffle 4G sync issues” [version 5.61];
23
                   •   “Fixed: [pmp_ipod] Database corruption on Eject with some iPod models”
24
                       [version 5.61];
25
               126.    Versions of pmp_ipod (including Winamp 5.2 with iPod Plug-in 0.3) would not
26

27     display an iPod that was restored to factory condition and did not contain an iTunesDB, amongst

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 1     other important files and directories. Thus, there was no way for pmp_ipod to initialize and
 2     manage such a factory-restored iPod.
 3

 4

 5     VI. RealPlayer With Harmony Compatibility Issues
 6
                  127.     RealPlayer 10.5 was the first version of RealPlayer to include Harmony
 7
       Technology. RealPlayer with Harmony apparently enabled support for iPod and iTunes m4a and
 8

 9     m4p music files. [See Figure 28.] There were multiple versions of 10.5 released over several

10     years, each version identified by a build number. I conducted experiments using builds

11     6.0.12.1040 (dated 8/13/2004), 6.0.12.1235 (dated 06/30/2005), and 6.0.12.1741 (dated
12     10/16/2006).87
13
                  128.     RealPlayer 10.5 included a tab for the management of a music library stored on the
14
       local computer. [See Figure 29.] RealPlayer 10.5 also included a tab that enabled the transfer of
15
       songs to portable devices, including iPods. [See Figure 30.]
16

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27     87
            Dates are part of the digital signature included with the install program.
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          Figure 28. Screen shot of RealPlayer 10.5 Help topic discussing Harmony Technology.
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                Figure 29. Screen shot of RealPlayer showing “My Library” of music tracks.
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16            Figure 30. Screen shot showing the Burn/Transfer tab with an iPod connected.

17
               A.      ITUNES DATABASE CONTENTS ARE INCONSISTENT
18
               129.    RealPlayer 10.5 (e.g., Build 6.0.12.1235 and Build 6.0.12.1741) created an
19

20     inconsistent iTunes database. For example, the FileHeader record contains the database version

21     as a major version number and a minor version number. The version number indicates the format
22     of the database (i.e., the valid record types, and the size and layout of each record). The database
23
       version number is changed each time that there is a change in the format. In ¶ 46 above, I discuss
24
       changes to the database format and the associated iTunes and database versions. For example, the
25
       DDBTrackInfo record was 156 bytes long in version 1.10 but was 244 bytes long in versions 1.11
26

27     through 1.17. iTunes 4.6 creates an iTunes database consistent with the version 1.10 format,

28     including a 156-byte long DDBTrackInfo record, and writes 1.10 to the database version fields.

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 1     iTunes 4.7.1 creates an iTunes database consistent with the version 1.12 format, including a 244-
 2     byte long DDBTrackInfo record, and writes 1.12 to the database version fields. RealPlayer 10.5
 3
       (builds 6.0.12.1212 and later), however, creates an iTunes database with a 156-byte long
 4
       DDBTrackInfo record (the size of the record in a 1.10 database) but with 1.12 in the database
 5
       version fields.
 6

 7             130.      In addition, RealPlayer (e.g., Build 6.0.12.1235 and Build 6.0.12.1741) fills certain

 8     fields in the iTunes database differently than iTunes does. For example, the DDBTrackInfo

 9     record for a song contains fields for sizeInBytes and totalTimeInMS. iTunes 4.6 fills these with
10
       the size of the music file in bytes and the total playing time in milliseconds, respectively.
11
       RealPlayer 10.5, on the other hand, rounds the size of the music file down to a multiple of 1
12
       kilobyte and uses a totalTimeInMS that may be less than, greater than or the same as the iTunes
13
       4.6 time. In the experiments that I performed, the totalTimeInMS written by RealPlayer 10.5
14

15     differed from the value written by iTunes 4.6 by as much as 673 milliseconds (more than 0.5

16     seconds). RealPlayer 10.5 also did not fill other DDBTrackInfo fields such as persistentID,
17     sampleRate and audioFormat. In addition, RealPlayer 10.5 did not include a name object in the
18
       primary playlist.
19
               131.      As I discussed in the Kelly Declaration at ¶ 33, when RealPlayer transfers music to
20
       an iPod, it also creates a new directory on the iPod (iPod_Control/Music/rndb) and stores several
21

22     files therein.

23

24
               B.        PLAYLISTS ARE CORRUPTED

25             132.      iTunes 4.6 and RealPlayer 10.5 with Harmony did not access the iTunes database
26     in a compatible way based on my observations. When an iPod is connected to the customer’s
27
       computer, as soon as iTunes runs, it will read and update the iTunes database as needed. If
28

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 1     iTunes is configured to automatically update all songs and playlists [see Figure 31], it will erase
 2     all songs on the iPod and build a new iTunes database based on the customer’s iTunes Library. If
 3
       iTunes is configured so that the customer can manually manage songs and playlists, iTunes may
 4
       still modify the iTunes database even when it is not copying files or playlists to the iPod. If the
 5
       customer also uses RealPlayer 10.5 with Harmony to add songs to the iPod, the two programs can
 6

 7     make conflicting changes to the database. The following experiment illustrates the conflict.

 8                 •   The iPod photo (firmware version 1.0) was restored to factory condition and

 9                     English was chosen as the language. This deleted all files, created the base set of
10
                       folders and files, and restored all settings to their default values.
11
                   •   The iPod was connected to a Windows XP computer that had both iTunes 4.6 and
12
                       RealPlayer 10.5 with Harmony (Build 6.0.12.1235) installed. When iTunes
13

14                     opened, the iPod Setup Assistant was cancelled. Then iTunes was quit.

15                 •   RealPlayer 10.5 with Harmony was then launched. Six songs were copied to the

16                     iPod.
17
                   •   iTunes was launched and one song was copied to the iPod. iTunes was then quit.
18
                   •   RealPlayer 10.5 with Harmony was then used to copy a playlist (named “My
19
                       Playlist”) containing four of the songs already on the iPod. Then the iPod was
20

21                     disconnected from the computer.

22             133.    The iPod Playlists menu displays “My Playlist,” a playlist without a name and On-

23     The-Go. [See Figure 32.] Both “My Playlist” and the nameless playlist contain no songs. [See
24     Figure 32.] The playlists section of the iTunes database was corrupted because iTunes 4.6 and
25
       RealPlayer 10.5 with Harmony did not properly coordinate their access to the database. The next
26
       time that the iPod is connected to the computer and iTunes runs, iTunes will tell the customer that
27
       the iPod is corrupted and needs to be restored. Thus, the customer will see content on the iPod
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 1     appear and disappear seemingly at random depending on how and in what order they are using
 2     iTunes and RealPlayer 10.5 with Harmony. They may also be asked to repeatedly restore and
 3
       resync their iPod.
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16        Figure 31. The left hand screen shot shows the iPod options for an iPod initialized to
         “Automatically update my iPod” using the iPod Setup Assistant in iTunes 4.6. The right
17      hand screen shot shows the iPod options for an iPod initialized to not automatically update
                                     using the iPod Setup Assistant.
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25        Figure 32. Photographs of the iPod photo (P98) after both iTunes and RealPlayer sync
         content to it as described in ¶ 132. The photograph on the left shows the Playlists menu.
26            The photograph on the right empty shows that the “My Playlist” playlist is empty.
27             134.    Conflicts with iTunes Software apparently persisted. In March 2006,
28
       RealNetworks told customers that “If you already have iTunes installed, it can cause some
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 1     conflicts with RealPlayer and your iPod. To avoid these conflicts, we recommend setting up your
 2     iPod to be compatible with RealPlayer.” It also told users to turn off automatic song and podcast
 3
       updating, noting that “every time you open iTunes with your iPod connected, non-iTunes tracks
 4
       are erased from the iPod” and that “RealPlayer can transfer the [Music Store] tracks over, but the
 5
       iPod cannot play them once iTunes synchronizes with the device.” [See
 6

 7     http://service.real.com/musicstore/support.html?section=iPodRPinstall, which is discussed in a

 8     March 2, 2006 email about RealPlayer with Harmony working with iPods at that time

 9     (Apple_AIIA00093860).] Even in the Oct. 2006 release of RealPlayer with Harmony (Build
10
       6.0.12.1741), the troubleshooting section of the help file informed customers that “iTunes can
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       cause issues when you attempt to use RealPlayer to download music to your iPod.” [See Figure
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       33.]
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       Figure 33. “iTunes, iPod, and RealPlayer Issues” page from the RealPlayer with Harmony
19                    help file installed with RealPlayer 10.5 (Build 6.0.12.1741).
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               C.      REALPLAYER DELETES ON-THE-GO PLAYLISTS
21

22             135.    On-the-Go playlists are improperly handled by RealPlayer with Harmony. To

23     illustrate this problem I used RealPlayer 10.5 build 6.0.12.1040 to restore an iPod photo (with
24
       firmware version 1.0). [See Figure 34.] I then synchronized a library of three songs to the iPod.
25
       Next, I ejected the iPod and created and saved an On-The-Go playlist. [See Figure 35.] When I
26
       opened the iPod in RealPlayer the saved playlist did not appear in the “Playlists On Device”
27
       display for the iPod. [See Figure 36.] If the user performs an action that causes RealPlayer to
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 1     update the iTunes database on the iPod – for example, rating a song [see Figure 37] – the saved
 2     On-The-Go playlist is deleted after the iPod is ejected. RealPlayer also does not preserve
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       unsaved On-The-Go playlists. The unsaved On-The-Go playlist is lost from the iPod if
 4
       RealPlayer updates the iTunes database on the iPod.
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        Figure 34. Screen shot showing the “Restore iPod” option available with RealPlayer 10.5.
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                          Figure 35. iPod photo showing a saved On-The-Go playlist.
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                      Figure 36. Screen shot showing the playlists on the iPod is empty.
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            Figure 37. Screen shot showing the “Edit Clip Info” dialog for a song stored on the iPod.
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15               D.     REALPLAYER CREATES ZERO LENGTH DATABASE WHEN DISK IS
                        FULL
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17               136.   RealPlayer with Harmony does not properly handle the iPod database when the

18     iPod disk is full.88 To illustrate this, I completely filled the iPod photo’s hard drive by using
19     RealPlayer to copy over 10 GB of songs (1320 tracks) to the iPod and using Windows Explorer to
20
       copy approximately 50 GB of data files to the root folder of the iPod. I connected the iPod to
21
       RealPlayer and created “My Playlist” and added 22 tracks from the existing songs on the iPod to
22
       the playlist. [See Figure 38.] I created a second playlist – “Rock” – and added 391 tracks to the
23

24     device. [See Figure 39.] When I clicked “Eject Device,” RealPlayer reported that I could safely

25     remove the device. [See Figure 40.] However, none of the 1320 tracks appeared in the song list

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       88
27       I performed this experiment with builds 6.0.12.1040, 6.0.12.1235 and 6.0.12.1741. All three experiments
       produced identical results.
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 1     on the iPod, and it appeared that I had lost 10 GB of music. When I examined the iTunes
 2     database on the iPod, I discovered that it was zero bytes in length. RealPlayer had given no
 3
       indication of its failure to correctly write the iTunes database.
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20       Figure 38. Screen shot of RealPlayer showing the contents of “My Playlist” on the iPod.
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16      Figure 39. Screen shot of RealPlayer showing the contents of “Rock” playlist on the iPod.

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16      Figure 40. Screen shot of RealPlayer informing the user that it is safe to disconnect the
                                                iPod.
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18           E.      REALPLAYER CRASHES CAUSE MUSIC TO DISAPPEAR

19           137.    During the course of one experiment using RealPlayer 10.5 Build 6.0.12.1040, I
20
     attempted to copy the RealPlayer library of 1321 songs and two autoplaylists to the iPod photo.
21
     RealPlayer “crashed” at 99% complete. In other words, it experienced an error that caused
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     Microsoft Windows to immediately terminate the program. This left the iPod in a state in which
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24   it showed that there was no music on the iPod even though the Music folder contained over 10

25   GB of music files.

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 1           F.      REALPLAYER DOES NOT HANDLE SPECIAL CHARACTERS IN SONG
 2                   TAGS

 3           138.    RealPlayer improperly displays and causes the iPod to improperly display the
 4
     names of songs containing multi-byte UTF-8 characters. For example, RealPlayer Build
 5
     6.0.12.1040 does not correctly display the song title “Melõdiqúe.” [See Figure 41.] When
 6
     RealPlayer writes this song name to the iTunes database on an iPod photo (with firmware version
 7

 8   1.0), it does not correctly convert the UTF-8 characters to two byte Unicode, and the song display

 9   on the iPod is also incorrect. [See Figure 42.] This song name is displayed correctly by iTunes

10   4.7 [see Figure 43], and is correctly displayed on the iPod when it is written to the iPod using
11   iTunes 4.7 [see Figure 42].
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     Figure 41. Screen shot showing incorrect display of song name containing multi-byte UTF-
26                                         8 characters.
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       Figure 42. The photograph on the left shows a portion of the song list on the iPod photo
12         after using RealPlayer to transfer the songs. The song “Melõdiqúe” is displayed
     incorrectly. The photograph on the right shows the same portion of the song list on the iPod
13      photo after using iTunes 4.7 to transfer the songs. The song “Melõdiqúe” is displayed
                                               correctly.
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15     Figure 43. Screen shot showing iTunes correctly displays a song name containing multi-
                                      byte UTF-8 characters.
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             G.      REALPLAYER LEAVES ORPHAN FILES ON THE IPOD
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19           139.    When using RealPlayer, if the transfer of songs from the media library to a
20   connected iPod is interrupted, for example, by a power fault, the iPod may appear to be empty
21
     even though many songs have been copied to the Music folder on the iPod. To simulate this, I
22
     initiated the transfer of a group of songs from the RealPlayer Build 6.0.12.1040 library to an iPod
23
     photo, which contained no songs, but then interrupted the transfer by disconnecting the USB
24

25   cable linking the iPod to the computer. I performed experiments interrupting the transfer after

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 1   about 25, 35 and 50 songs had been transferred.89 In all three cases the song list on the iPod
 2   display was empty.90 The iTunes database on the iPod contained no track records. However, the
 3
     Music folder on the iPod contained the expected number of songs. When I attached the iPod to
 4
     the computer and used RealPlayer to transfer the songs again (this time allowing the transfer to
 5
     complete), there were duplicates of the music files because the songs that had been successfully
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 7   transferred but had not been added to the iTunes database were copied to the iPod a second time.

 8   This reduces the available storage of the iPod.

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10              H.       REALPLAYER DOES NOT SUPPORT THE IPOD VIDEO
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                140.     RealPlayer did not properly support the iPod video (i.e., iPod classic 5th
12
     generation) for at least two reasons. First, all songs and videos that RealPlayer copies onto the
13
     iPod video are displayed in both the Songs and the Movies lists on the iPod video. Second,
14
     RealPlayer converts video clips to audio clips.
15

16              141.     I performed the following experiment using RealPlayer build 6.0.12.1741 (digital

17   signature dated 10/16/2006) to demonstrate these problems. First, I added two songs and three
18   videos to the RealPlayer library. [See Figure 44.] The songs are properly recognized as MP3
19
     audio. The MPEG-4 video clip, which is in a format that can be played by the iPod video, is
20
     imported as a song instead of a video. The Windows Media Video and AVI video clips are
21
     imported as videos.
22

23              142.     I then connected the iPod video (firmware version 1.0) and initialized the iPod by

24   clicking RealPlayer’s “Restore iPod” button. Next, I copied the two songs to the iPod video and

25
     89
26        It appears that RealPlayer writes an iTunes database to the iPod every 100 files.
     90
27     If the iPod already contained songs, those songs would still appear in the display, but none of the new songs would
     be added to the Songs menu on the iPod.
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 1   disconnected the iPod from the computer. As shown in Figure 45, the two songs appear in both
 2   the Songs list and the Movies list in the iPod video user interface. The songs should only appear
 3
     in Songs list. My examination of the iTunes database created by RealPlayer shows that the
 4
     database is missing information required by the iPod video. In fact, the database is missing fields
 5
     added after iTunes 4.5 (released in April 2004).
 6

 7           143.    Then, I connected the iPod video to the computer once again and copied the three

 8   video clips to the iPod video. RealPlayer only copied the MPEG-4 and Windows Media Video

 9   clips. Although RealPlayer did not copy the AVI video clip, it did not display any error or
10
     warning messages. Finally, I disconnected the iPod video from the computer. Both the songs and
11
     videos are displayed in the Songs list and the Movies list in the iPod video user interface. [See
12
     Figure 46.] In addition, none of the videos are playable as videos on the iPod. The video clips
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     have been converted to MPEG-4 audio files by RealPlayer, again, without displaying an warning
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15   messages.

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16     Figure 44. This RealPlayer library contains two songs in MP3 format, one video clip in
       MP4 format (placed in the category Music instead of Videos), one video clip in Windows
17                 Media Video format and one video clip in AVI video format.

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28                     Figure 45. The two songs are listed as both songs and movies.

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11                    Figure 46. All of the content is listed as both songs and movies.
12
             I.       OTHER CUSTOMER COMPLAINTS
13

14           144.     Some users reported that songs transferred to the iPod by RealPlayer are skipped

15   (either entirely or after playing a portion of the song) during playback on the iPod. [See, e.g.,
16   http://forums.ilounge.com/ipod-classic-legacy-ipods/110673-ipod-mini-skipping-songs.html.]
17
     One user posted on his blog instructions that he received from Real Networks for fixing this issue.
18
     [See http://johnbell.typepad.com/weblog/2006/04/real_networks_r.html.] One proposed solution
19
     was to disable optimized files. Another proposed solution was to delete the keybag files from the
20

21   iPod.

22           145.     Users have also reported that not all of the songs that Real Player says are on the

23   iPod are displayed in the iPod menus. [See, e.g., http://forums.ilounge.com/ipod-classic-legacy-
24   ipods/160006-music-shows-pc-not-ipod.html.]
25
             146.     Users reported that RealPlayer did not copy album art to the iPod. [See, e.g.,
26
     http://forums.ilounge.com/ipod-classic-legacy-ipods/156128-ipod-realplayer-album-art-
27
     problem.html.]
28

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 1           147.    Some users found that multiple entries for an artist appear in the iPod Artist menu
 2   when transferring songs using RealPlayer. [See, e.g., http://forums.ilounge.com/lounge/41210-
 3
     real-networks-ipod-disaster.html; http://forums.ilounge.com/third-party-software-mac-pc/113897-
 4
     real-player-problem.html.]
 5
             148.    Users also found that, after using RealPlayer, iTunes could not recognize the iPod
 6

 7   and informed the user that the iPod had to be restored. [See, e.g., http://forums.ilounge.com/ipod-

 8   classic-legacy-ipods/82185-ipod-music-real-music-store.html;

 9   http://forums.ilounge.com/windows-ipod-discussion-problems/44855-real-player.html.]
10
             149.    A user also reported that, after using RealPlayer, the iPod would not “play the
11
     music that I have bought from itunes.” [See http://forums.ilounge.com/windows-ipod-discussion-
12
     problems/44855-real-player.html.]
13
             150.    In addition, users reported problems with RealPlayer loading music that could be
14

15   played on an iPod Shuffle. Although RealPlayer appeared to copy songs onto the iPod shuffle,

16   the iPod shuffle would not play any songs. [See, e.g., http://forums.ilounge.com/windows-ipod-
17   discussion-problems/97143-help-ipod-shuffle-major-problem.html.]
18

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20   VII. Apple and Third Parties Would Have Had To Work
21        Together
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             151.    Allowing third party jukeboxes to load and manage music on iPods in a way that
23
     worked seamlessly without interfering with the intended operation or performance of iPods,
24
     iTunes and iTS and without interfering with FairPlay would have required close cooperation
25
     between Apple and the third party jukebox developers. Among other things, Apple would have
26

27   had to share confidential information (including specifications, design information, and perhaps

28   source code) with these third party developers. [See also Kelly Declaration at § IV.A.] And as

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 1   Dr. Martin seems to recognize, Apple would also have to modify the iPod firmware and iTunes
 2   Software to make the iPod firmware and iTunes software work seamlessly with the dozens of
 3
     third-party applications – including RealPlayer and Winamp – that were available to the public.
 4
     This would be an ongoing process as Apple changed iPod hardware and firmware, the iTunes
 5
     software, and iTS software and content. Developing software so that it is compatible with third-
 6

 7   party applications and then providing ongoing support to maintain that compatibility is more

 8   burdensome than developing and maintaining one’s own products.

 9           152.    Dr. Martin says that “an effective way to help minimize incompatibilities or bugs
10
     in third-party applications is to publish technical documents that accurately reflect the
11
     requirements for interoperability.” [Martin Report at ¶ 111.] As a threshold matter, this would
12
     require Apple to incur the costs of drafting specifications and other documents that could be read
13
     and understood by non-Apple developers. Such documents would have to be reviewed and
14

15   possibly updated with each change to iTunes, iPod firmware and other programs that work with

16   or affect iTunes or iPod firmware, including FairPlay. Aside from the burden on Apple to write
17   and maintain such documentation and to support the developers who would use the
18
     documentation, there is no guarantee that this would lead to the requisite level of compatibility.
19
     Indeed, as discussed above, bugs that interfere with the intended operation can occur even where
20
     the software is developed internally with full information (including highly confidential
21

22   proprietary information), developers have access to the relevant software and hardware as well as

23   the respective development teams, and where a company has an incentive to reduce bugs so that

24   customer satisfaction is enhanced. In addition, even with documentation, third-party developers
25   still wouldn’t have the same access that internal developers and engineers have. And since
26
     developers may interpret such documents in different ways, the various jukebox applications may
27
     still not produce databases and keybags that are entirely compatible. In addition, in my
28

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 1   experience developers sometimes ignore parts of such specifications. For example, developers
 2   sometimes use fields that are “reserved for future expansion” to store information not contained
 3
     in existing fields. Even if this approach were effective, sharing highly confidential information –
 4
     especially related to the keybag – could reduce the security of FairPlay.
 5
             153.    Dr. Martin also believes that Apple could have written iTunes and the iPod
 6

 7   firmware to tolerate errors introduced by third party jukeboxes: “Another possibility would have

 8   been for Apple to code for robustness rather than rapid failure due to the detection of third-party

 9   software.” [See Martin Report at ¶ 108.] As with documentation, this would require Apple to
10
     spend resources developing new code and programs to interoperate with the third-party programs.
11
     Among other things, Dr. Martin would have Apple perform a full verification analysis of the
12
     iTunes database. This would require development effort by Apple for both the iTunes client and
13
     the iPod. The additional processing to implement this solution could be significant on resource-
14

15   constrained devices such as the iPod and impact the responsiveness of the device, battery life, etc.

16   And it is wrong to suggest that making the device or software more “robust” would eliminate
17   bugs that could interfere with the operation of the iPod. As discussed above, creating a bug-free
18
     program is nearly impossible.
19
             154.    Dr. Martin also attempts to draw a parallel with the iPhone because Apple
20
     provides technical documentation to developers of third-party iPhone applications. [See Martin
21

22   Report at ¶ 48.] As an initial matter, Dr. Martin’s attempted analogy is too simplistic. The

23   developer documentation to which Dr. Martin refers is for programming interfaces to Apple

24   software on the iPhone, which third parties use to develop their own applications. This Apple
25   software was designed to be exposed to third party developers. There is no software interface for
26
     syncing music and videos to the iPod that was designed to be exposed to third party developers.
27
     Therefore, carrying the analogy to the iPod, Dr. Martin would have Apple provide to the third
28

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 1   party jukebox developers the software interface, which would consist of software on both the
 2   iPod and the user’s computer to create the database and keybag, manage concurrent access by
 3
     multiple jukebox applications, etc., and the requisite interface documentation. All the flaws
 4
     related to providing documentation and making the software more robust, as discussed above,
 5
     apply equally here. There are a number of other problems with such a “solution.” First, unless
 6

 7   Apple employed techniques such as database and keybag verification, third party developers

 8   would not be required to use the Apple supplied software. They could still write the database and

 9   keybag directly. Second, iPhone software runs on a relatively small collection of devices easing
10
     the cost of development, support, testing, etc. The portion of the proposed interface software for
11
     the user’s computer would have to at least run on versions of Microsoft Windows, Mac OS X and
12
     Linux since third party jukeboxes were developed for all of these operating systems. This is a
13
     very significant challenge. Third, since such software would necessarily use FairPlay, providing
14

15   this type of access would make FairPlay less secure.

16

17
     VIII.           Advantages of a “Walled Garden”
18
             155.    One of the many choices confronting the designers of a software & hardware
19

20   platform is the choice between a “closed” platform (also called a “walled garden”) and an “open”

21   platform (also called an “open field”). The true walled garden approach, on the one hand, is one

22   in which the provider controls the software, hardware, and content in the ecosystem. Users
23   within the ecosystem cannot use non-approved or unsupported applications or content. Thus, the
24
     user of the platform must adopt the entire system as provided by the designers. The open field
25
     approach, on the other hand, allows any interested party to provide some or all of the software,
26
     some or all of the hardware, and some or all of the content. The user of the platform is free to
27

28   combine software and hardware from any collection of providers in order to create the system.

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 1   Of course, a platform could be somewhere between the true walled garden and open field
 2   extremes.
 3

 4           156.    The Apple Macintosh is an example of a system that is closer to a walled garden

 5   than an open field. The customer must obtain the basic hardware and the operating system from
 6   Apple; however, third parties can provide certain types of expansion devices and application
 7
     software. By contrast, the so-called Wintel PC is closer to an open field than a walled garden.
 8
     The customer must obtain the operating system from Microsoft but can obtain the hardware
 9
     (basic system and expansion devices) from any party and application software from any party.
10

11
             157.    Apple’s iPod/iTunes/iTunes Store is closer to a walled garden than an open field.
12
     Apple develops the hardware (iPod), the iPod firmware, the iTunes Software, and the iTS
13
     software, and optimizes each component to work together. In addition, Apple provides some of
14
     the content through iTS. By design, if the customer uses the iPod, they also use the iTunes
15

16   Software to load and manage content on the iPod and the iTS to obtain content. It is not a true

17   closed system because content (e.g., DRM-free music, videos, etc.) can also be acquired from
18   other parties and loaded onto an iPod using iTunes.
19

20           158.    Amazon/Kindle also has features of a walled garden. Amazon develops hardware

21   (Kindle), software (Kindle software for computers and smartphones), and the Amazon Store.

22   Although, as designed, the consumer purchases content from the Amazon Store and views the
23
     content using the Kindle hardware or software, it is also possible to download content from the
24
     Amazon Store to other devices.
25

26           159.    Microsoft’s Xbox gaming system also has features of a walled garden. Microsoft
27   develops hardware (Xbox consoles and accessories), software (Xbox operating system) and an
28

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 1   online store (Xbox Live Marketplace). Consumers must use the Xbox console and operating
 2   system from Microsoft but can purchase some accessories and some content from other parties.
 3
             160.     A walled garden platform has certain perceived advantages compared to open field
 4
     platform, including ease of use, security and stability. These advantages come at some cost,
 5
     including potentially higher development and maintenance costs, less code portability and less
 6

 7   API access to third party developers. In the following paragraphs I will discuss in more detail the

 8   advantages of the walled garden.

 9           161.     One important benefit of the walled garden approach is that it enhances the
10
     stability of hardware and software versions. 91 This is because there is a limited and controlled
11
     population of hardware devices that will run the software and a limited and controlled number of
12
     software applications that have to interoperate with each other. The developers, engineers and
13
     others involved face a more manageable task of tailoring the software to the specific hardware
14

15   and other software with which it will interoperate. This translates to a benefit for consumers,

16   because the consumer does not have to worry about which version out of many potential versions
17   of the software is the correct one for a particular hardware device.
18
             162.     A walled garden provides the benefit of a better user experience. As should be
19
     apparent from the above, in a walled garden, since a company does not have to worry about
20
     compatibility and optimization with multitudes of hardware devices and software programs, the
21

22   company and its developers and engineers can focus on product quality. Additionally, strict,

23   centralized verification and testing of the product can lead to higher product quality and enhanced

24   user experience.
25

26
     91
27      For an example in the field of industrial automation, see Walled Garden or Open Field? by John Berra
     [http://www.automationworld.com/print/10058].
28

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 1           163.    A walled garden also provides the benefit of more easily and quickly changing the
 2   elements of the platform (e.g., hardware devices and software) because a single party controls all
 3
     the elements. The more diverse the hardware and software that comprise an open platform, the
 4
     harder it is to devise and implement changes that are satisfactory to all stakeholders given the
 5
     increased coordination that is required among the various actors. Having a single entity control
 6

 7   the constituent parts of the platform allows walled gardens to respond more quickly to consumer

 8   demands and enables a more efficient allocation of resources when determining how to best effect

 9   changes among both the hardware and software components of a system.
10
             164.    A walled garden platform also provides a more centralized security structure to
11
     protect end users. Since security is only as strong as the weakest link in the chain, the centralized
12
     control that is the hallmark of a walled garden platform allows a company to fully vet security
13
     risks prior to introducing new components into the system. By implementing centralized testing
14

15   and verification of components supplied by third parties, which pose potential security and other

16   risks, the company performs a gatekeeper function to protect the security of the system and end
17   user. However, the results are only as good as the verification process.
18
             165.    A walled garden also provides the benefit of increased convenience for customers.
19
     For example, ecosystems like Apple’s provide consumers one place to find and purchase content
20
     (using iTunes to access iTS), manage and play content on the computer (using iTunes), and
21

22   manage content on the iPod (using iTunes to load and mange music). Commentators have

23   heralded the iPod’s convenience and ease of use as one of its most significant achievements,

24   stating “By exercising control over the hardware and the software, Apple has been able to
25   construct the easiest-to-use digital music system possible. Unlike the glitch-prone systems of its
26

27

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 1   competitors, Apple’s three-way combination of hardware (iPod), software (iTunes), and online
 2   service (music store) is about as seamless as a sophisticated tech product gets.”92
 3
                166.    Customer service is also enhanced. First, having a single customer support
 4
     organization is more convenient for the customer, who does not have to determine which of many
 5
     companies to call for support. Second, having a single customer support organization provides a
 6

 7   better customer experience. Since the customer support organization can service calls concerning

 8   all elements of the platform (and interactions amongst the elements), customer support is more

 9   likely to successfully resolve the problem. Third, the walled garden maximizes the support
10
     resources available to the customer. As one Apple employee explained, misdirected support calls
11
     (i.e., calls due to an unsupported product or service from another company) needlessly consume
12
     limited customer support resources.
13
                “We provide support to iPod customers for their hardware and iTunes as it pertains
14
                to iPod syncing. If a customer damages their iPod because the (sic) used software
15              other than iTunes, then that should be outside the scope of support. For every
                dollar we spend helping one of those customers, it’s one dollar less we can spend
16              on     supporting    our   customers    who      actually   need     our    help.”
                [Apple_AIIA01025117]
17

18
     IX. Other Topics
19

20
                167.    If asked or to more fully explain my opinions as expressed in this report, I reserve
21
     the right to rely on various portions of the references that I have discussed in this report that I
22
     have not already explicitly cited to in this report.
23
                168.    I reserve the right to supplement my report in light of any additional fact
24

25   discovery, opinions by Plaintiff’s experts, and/or trial testimony. I also reserve the right to

26

27   92
          The Cult of iPod by Leander Kahney (No Starch Press, Inc. 2005), p. 15
28

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 1   provide rebuttal opinions and testimony in response to Plaintiff’s experts, and rebuttal testimony
 2   in response to any of Plaintiff’s fact witnesses. Further, I reserve the right to use animations,
 3
     demonstratives, enlargements of actual exhibits, and other information in order to illustrate my
 4
     opinions.
 5
             169.    I expect to continue to develop my opinions discussed in this report. I also reserve
 6

 7   the right to supplement my opinions based on information obtained from additional discovery or

 8   from Plaintiff’s experts, as indicated above.

 9           170.    When called upon to do so, I will offer testimony at trial or otherwise regarding
10
     these opinions and will offer rebuttal testimony as appropriate throughout the remainder of this
11
     proceeding.
12

13

14           Executed this 19th day of July 2013 in Santa Barbara, California.

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16                                                             ______________________________
                                                               John P. J. Kelly
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